                    Case 2:13-cv-02155-DLR            Document 157-1     Filed 10/06/15   Page 1 of 34


                1    BRYAN CAVE LLP (No. 00145700)
                     Sean K. McElenney (No. 016987)
                2
                     Coree E. Neumeyer, (No. 025787)
                3    Eric M. Moores (No. 028280)
                     Two North Central Avenue, Suite 2200
                4    Phoenix, Arizona 85004-4406
                     (602) 364-7000
                5
                     (602) 364-7070 fax
                6    skmcelenney@bryancave.com
                     coree.neumeyer@bryancave.com
                7    moorese@bryancave.com
                8
                     Attorneys for Defendant ReconTrust Co., NA.
                9

               10                           IN THE UNITED STATES DISTRICT              COURT

   0           11                            IN AND FOR THE DISTRICT           OF ARIZONA
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    III  U)    12
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    -",              Ivaylo Tsvetanov Dodev,                               No. 2: 13-CV-02155-DLR
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               13                    Plaintiff,
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III III co "
               14                                                          DECLARATION OF SEAN K.
~~o(.:r                         v.
U.JzU)
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                                                                           MCELENNEY IN SUPPORT OF
Z 0: ~-
~ I- 0: ~
o:z<U)
               15    ReconTrust Company, N.A.; Select Portfolio            MOTION FOR ATTORNEYS' FEES
III ~    t!-         Servicing, Inc.; The Bank of New York                 BY DEFENDANT RECONTRUST
    :z: z      16
    I- III
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                     Mellon, Corporation, FKA The Bank of New              COMPANY, N.A.
    o :z:            York; Bank of America, N.A., successor of
   zo..
    0          17    Countrywide Home Loans, Inc.; Real Time
   ~
   l-                Resolutions, Inc.; and Does 1-100, in his/her
               18    individual and.official capacity,
               19                    Defendants.
               20
                                I, Sean K. McElenney,      pursuant to 28 U.S.C. § 1746, make the following
               21
                     declarati on:
               22
                                1.    I am of sound mind, over the age of 18 years and fully competent to testify
               23
                     to the matters stated herein and I make this Declaration on my own personal knowledge.
               24
                                2.    I am, and have been at all times material to these proceedings, an attorney
               25
                     with the Phoenix office of Bryan Cave LLP ("Firm"), which Defendant Recontrust
               26
                     Company, N.A. ("Recontrust") and Bank of America, N.A. ("BANA," and, together with
               27
                     Recontrust,     "Defendants"),    retained to represent it in connection with this action.   I
               28
                     submit this declaration in support of Defendants' Motion for Attorneys' Fees.


                     786928.3
                     Case 2:13-cv-02155-DLR         Document 157-1         Filed 10/06/15   Page 2 of 34



                 1               3.   I have been involved in this case since it was filed.           I have personal

                 2    knowledge of the legal services rendered in this litigation proceeding from that time

                 3    forward.

                 4               4.   I was admitted to practice law in the State of California in 1992, in the State

                 5    of Arizona in 1997, and in the State of Nevada in 2005, and have continuously practiced

                 6    law in Maricopa County, Arizona, since 1997.

                 7               5.   In connection with my practice, I am responsible for billings of attorneys'

                 8    fees (including expenses) and I am familiar with the fees and charges customarily

                 9    charged by attorneys in this community.

                10               6.   I have been the responsible attorney for client communications,         strategy
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                11    decisions, and the conduct of this litigation.
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                12               7.   The Firm undertook      the representation     of Defendants     in the above-
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-IZIllO         13    captioned and numbered cause of action and provided services which are detailed in the
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u ....
  « 0 I'l       14    statements attached as Exhibit "B" and summarized in Exhibit "A."
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   u~-          15               8.   The following amounts of time were charged at the following hourly rates,
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    ...II:0'"   16    in the representation of Defendants in this matter:
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                                      Year          Person             Avg. Rate   Hours       Fees
                18
                                      2013
                19
                                              Sean K. McElenney         $405.00     6.00     $2,430.35
                20
                                              Coree E. Neumeyer         $290.00     18.10    $5,249.80
                21
                                             Eric M. Moores             $205.00    44.80     $9,183.25
                22
                                      2014
                23
                                              Sean K. McElenney         $425.00     13.90    $5,881.50
                24
                                              Coree E. Neumeyer         $320.00     19.90    $6,347.00
                25
                                             Eric M. Moores             $215.00    86.30    $18,597.65
                26
                                              Justin L. Monnet          $195.00     6.30     $1,228.50
                27

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                      786928.3
                    Case 2:13-cv-02155-DLR         Document 157-1       Filed 10/06/15   Page 3 of 34




                1                     2015
               2                             Sean K. McElenney      $450.00     14.70     $6,630.00

                3                            Coree E. Neumeyer      $335.00     17.10     $5,738.50
               4                             Teresa P. Meece        $225.00      0.70        $157.50
                5                            Eric M. Moores         $210.00     74.30    $15,668.50
                6
                                9.    The following amounts of time were charged at the following hourly rates,
                7
                     in the preparation of Defendants' motion for attorneys' fees to date:
                8

                9                     Year         Person         Avg. Rate     Hours        Fees
               10                     2015
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               11                            Sean K. McElenney      $450.00       1.4     $630.00
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               12                            Coree E. Neumeyer      $335.00     14.80    $4,958.00
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               l3                            Eric M. Moores         $210.00      13.00   $2,730.00
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                                10.   I am a Partner with the Firm and have been practicing law since 1992. I
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   ... III
                     have significant experience with the financial services industry in general and with
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   0                 foreclosure defense issues for Defendants and other clients, in particular, which have
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                     been a substantial part of my practice since 2008. I regularly oversee, formulate strategy,
               18
                     and direct the defense of matters like this one.      I performed those tasks in this case.
               19
                     While remaining primarily responsible to the client for communications, strategy, and
               20
                     conduct of the litigation, I have delegated many tasks to Firm associates and a staff
               21
                     attorney in an effort to save costs. The qualifications and work performed by each are
               22
                     summarized below.
               23
                                11.   Coree E. Neumeyer is an Associate with the Firm and has been practicing
               24
                     law since 2007. Ms. Neumeyer's practice has been significantly focused on the financial
               25
                     services industry and, in particular, foreclosure defense litigation of this type, and she has
               26
                     substantial experience dealing with the issues involved in this case.
               27

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                     Case 2:13-cv-02155-DLR             Document 157-1       Filed 10/06/15   Page 4 of 34




                 1               12.      Eric M. Moores is a Staff Attorney with the Firm and has been practicing

                2     law since 2011.          Mr. Moore's practice at the Firm has been focused solely upon the

                3     financial services industry and, in particular, foreclosure defense litigation of this type,

                4     and he has substantial experience dealing with the issues involved in this case.

                 5               13.      Teresa P. Meece is an Associate with the Firm and has been practicing law

                6     smce 2015.           Ms. Meece performed      0.7 hours of research assistance in support of

                 7    counsel's        preparation   for oral argument on the motion to dismiss Plaintiffs           third

                 8    amended complaint.

                 9               14.      Justin L. Monnet is a paralegal with the Firm and has been practicing since

                10    2007.       Mr. Monnet assisted with the preparation of a document production associated
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    N           11    with Defendants' initial Rule 26 disclosure statement.         Mr. Monnet spent 6.30 hours on
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     :I'<r      12    the matter.
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..JZUlO         13               15.      I am familiar with the guidelines       for determining   reasonableness      of
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    0( 0 I'l    14    attorneys' fees and billing rates provided in Schweiger v. China Doll Restaurant, Inc.,
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    u~-         15    138 Ariz. 183, 673 P.2d 927 (Ct. App. 1983), and considered these guidelines in
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    o :J:       16    determining a reasonable fee and exercising billing judgment for the services performed
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                17    by attorneys and legal assistants in connection with this case.

                18               16.      While the issues in this case did not require specialization in a particular

                19    area of law, the matters did require skill and experience.

                20               17.      The acceptance of this case did not preclude other employment by the Firm.

                21    This case did not involve a contingency or fixed fee.              Billings were made at usual

                22    customary and/or discounted rates. The experience of the attorneys and legal assistants

                23    were commensurate with the rates charged by other lawyers and legal assistants in this

                24    community with comparable experience and education.

                25               18.      The Firm and Defendants have an ongoing relationship         and agreement

                26    governing the defense of matters of this type. To date, Defendants have paid $8,878.00

                27    of the fees and $137.64 of the expenses incurred on this matter.

                28

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                    Case 2:13-cv-02155-DLR         Document 157-1        Filed 10/06/15    Page 5 of 34



                1               19.   The attached Exhibit "B" is a true and correct copy of a detailed summary

                2    of the services performed and the time expended by the Firm in connection with this

                3    matter. Exhibit "B" specifies the following information:

                4                     (a)    the date on which the work was performed;

                5                     (b)    the name of the person performing the work;

                6                     (c)    the description of the work performed;

                7                     (d)    the amount of time it took to perform the work; and

                8                     (e)    the amount charged for the services rendered.

                9               20.   These time records are prepared from daily timesheets maintained by the

               10    attorneys and legal assistants employed by the Firm. The attorneys and legal assistants in
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               11    the Firm record their time on an hourly basis. The individuals either fill out time sheets
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               12    which are typed and submitted to the Firm's accounting department, or enter their time
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.JZUlO         13    directly into the Firm's computer time entry program as the work is performed.           The
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~.I~~          14    typed time is downloaded into the accounting computer system, which generates the
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          CD   15    billing statements. The billing statements reflect the work performed, the charges and the
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   o :t        16    associated costs. The firm sends invoices to the client on a periodic basis. The client is
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               17    expected to pay the Firm's invoices.      These practices and procedures are standard at the

               18    Firm and are within its normal business operations.

               19               21.   The attached Exhibit "C" is a true and correct copy of a detailed summary

               20    of the expenses incurred by the Firm in connection with this matter that were charged to

               21    Defendants.      Exhibit "C" specifies the following information:

               22                     (a)    the date on which the expense was incurred;

               23                     (b)    the description of the non-taxable expense with particularity;

               24                     (c)    the total amount of the expense.

               25               22.   I have reviewed and approved the charges itemized on Exhibit Band

               26    Exhibit C, and the time spent and expenses incurred were reasonable and necessary under

               27    the circumstances.     We have not charged for computerized legal research services, nor

               28    have we charged for most of the printing, photocopy, or similar services provided. I have

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                       Case 2:13-cv-02155-DLR          Document 157-1       Filed 10/06/15   Page 6 of 34



                   1    made an effort continuously throughout this matter, as the lawyer primarily responsible

                   2    for creating the bills, to eliminate charges for unnecessary, duplicative, or excessive time.

                   3               23.   After reviewing the time sheets and evaluating the efforts necessary to

                   4    conduct this matter, I believe these amounts to be reasonable           and appropriate   and,

                   5    therefore, I request on behalf of Defendants that these amounts be awarded.

                   6               I have read the foregoing declaration and declare under penalty of perjury that the

                   7    foregoing is true and correct

                   8               Executed on this 6th day of October, 2015 at Phoenix, Arizona.

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                                                                     sf Sean K. McElenney
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Case 2:13-cv-02155-DLR   Document 157-1   Filed 10/06/15   Page 7 of 34




                   EXHIBIT A
Case 2:13-cv-02155-DLR          Document 157-1          Filed 10/06/15       Page 8 of 34


                                 EXHIBIT "A"
                               BRYAN CAVE LLP
                              SUMMARY OF FEES
                       November 4, 2013 - September 4, 2015

                       Person           Avg. Rate        Hours           Fees
        2013
               Sean K. McE1enney          $405.00          6.00      $    2,430.35
               Coree E. Neumeyer          $290.00         18.10      $    5,249.80
               Eric M. Moores             $205.00         44.80      $    9,183.25
                     Sub-total                            68.90      $   16,863.40
        2014
               Sean K. McElenney           $425.00        13.90      $    5,881.50
               Coree E. Neumeyer           $320.00        19.90      $    6,347.00
               Eric M. Moores              $215.00        86.30      $   18,597.65
               Justin L. Monnet            $195.00         6.30      $    1,228.50
                      Sub-total                          126.40      $   32,054.65

        2015
               Sean K. McElenney          $450.00         14.70      $    6,630.00
               Coree E. Neumeyer          $335.00         17.10      $    5,738.50
               Teresa P. Meece            $225.00          0.70      $       157.50
               Eric M. Moores             $210.00         74.30      $   15,668.50
                     Sub-total                           106.80      $   28,194.50

        2015 - Related to Preparation   of Attorneys'   Fee Motion
               Sean K. McElenney          $450.00           1.40     $      630.00
               Coree E. Neumeyer          $335.00         14.80      $    4,958.00
               Eric M. Moores             $210.00         13.00      $    2,730.00
                      Sub-total                           29.20      $    8,318.00

                      TOTAL:                             331.30      $   85,430.55
Case 2:13-cv-02155-DLR   Document 157-1   Filed 10/06/15   Page 9 of 34




                   EXHIBITB
         Case 2:13-cv-02155-DLR          Document 157-1             Filed 10/06/15          Page 10 of 34


                                              EXHIBIT "B"
                                            BRYAN CAVE LLP
                                   ITEMIZED CHRONOLOGY OF FEES
                                    November 4, 2013 - September 4, 2015

   Date             Person       Hours       Amount                                   Description
11/5/2013    Coree E. Neumeyer    0.2    $        58.00    Analyze plaintiffs complaint.
11/5/2013    Coree E. Neumeyer    0.1    $        29.00    Check online court case information.
1115/2013    Sean K. McElenney     I     $       405.00    Analyze case and attention to strategy in light of same.
1116/2013    Sean K. McElenney    0.2    $        81.00    Attention to client communication and Recontrust issues.
1116/2013    Coree E. Neumeyer    0.1    $        29.00    Correspond with in-house counsel V. Hansen regarding
                                                           various case information.
1111312013   Sean K. McElenney    0.3    $       121.50    Attention to strategy development and dispositive motion.
1111312013   Eric Moores          0.7    $       143.50    Initial analysis of complaint.
11114/2013   Coree E. Neumeyer    0.5    $       145.00    Strategize regarding response to complaint.
11114/2013   Eric Moores          0.5    $       102.50    Continue initial analysis of complaint.
1111412013   Eric Moores          0.2    $        41.00    Review loan records.
11115/2013   Eric Moores           2     $       410.00    Analyze loan and servicing records.
11115/2013   Eric Moores          0.8    $       164.00    Draft initial case strategy memorandum.
11115/2013   Eric Moores          0.5    $       102.50    Strategize regarding motion to dismiss.
11/16/2013   Eric Moores          0.2    $        41.00    Continue drafting initial case strategy memorandum.
1111612013   Eric Moores          0.8    $       164.00    Analyze loan and servicing records.
11117/2013   Eric Moores          0.7    $       143.50    Draft motion to dismiss.
1111712013   Eric Moores           1     $       205.00    Analyze loan and servicing records.
11117/2013   Eric Moores          0.4    $        82.00    Continue drafting initial case strategy memorandum.
1111812013   Eric Moores          2.5    $       512.50    Continue drafting initial case strategy memorandum.
11118/2013   Eric Moores          1.8    $       369.00    Additional analysis of loan and servicing records.
1111812013   Eric Moores          0.4    $        82.00    Strategize regarding motion to dismiss.
1111812013   Coree E. Neumeyer    0.5    $       145.00    Edit initial case strategy memorandum.
11119/2013   Coree E. Neumeyer    1.5    $       435.00    Edit initial case strategy memorandum.
1111912013   Eric Moores          0.5    $       102.50    Strategize regarding stipulation for extension,
                                                           correspondence to plaintiff regarding requirement to meet
                                                           and confer.
11119/2013   Eric Moores          0.9    $       184.50    Correspond with I. Dodev regarding need to meet confer,
                                                           stipulation to extend response date.
11119/2013   Eric Moores          0.4    $         82.00   Draft notice of appearance.
11119/2013   Eric Moores          0.3    $         61.50   Strategize regarding potential bankruptcy issues in case.
11119/2013   Eric Moores          0.8    $        164.00   Draft stipulation and order for extension of response date.
11119/2013   Eric Moores          0.3    $         61.50   Strategize regarding initial case management.
1111912013   Coree E. Neumeyer    1.5    $       435.00    Analyze plaintiffs complaint.
1111912013   Coree E. Neumeyer     1     $       290.00    Analyze loan servicing records.
11119/2013   Coree E. Neumeyer    0.8    $       232.00    Research regarding plaintiffs bankruptcy proceedings, legal
                                                           impact.
11/19/2013   Coree E. Neumeyer    0.3    $        87.00    Strategize regarding extension to respond to complaint.
11119/2013   Coree E. Neumeyer    0.1    $        29.00    Edit correspondence to borrower regarding extension to
                                                           respond to complaint.
11120/2013   Eric Moores          0.3    $        61.50    Strategize regarding correspondence with I. Dodev, request
                                                           for extension stipulation.
11120/2013 Coree E. Neumeyer      0.2    $        58.00    Strategize regarding motion to dismiss.
1112112013 Eric Moores            0.1    $        20.50    Finalize notice of appearance.
1112112013 Eric Moores            0.1    $        20.50    Strategize regarding correspondence with I. Dodev, request
                                                           for stipulation.




                                                     1 of 23
         Case 2:13-cv-02155-DLR        Document 157-1                Filed 10/06/15                   Page 11 of 34


1112112013   Eric Moores         0.5   $    102.50     Correspond       with I. Dodev regarding              stipulation     for
                                                       extension.
1112112013   Eric Moores         2.7   $    553.50     Revisions      to initial case strategy memorandum.
1112112013   Coree E. Neumeyer   0.2   $      58.00    Correspond       with plaintiff     regarding        extension      to respond        to
                                                       complaint.
11/2112013   Eric Moores         0.2   $      41.00    Finalize     stipulation     and order for extension          of response         date.


1112112013   Coree E. Neumeyer   0.3   $      87.00    Prepare damages            assessment.
11122/2013   Coree E. Neumeyer   0.5   $     145.00    Edit initial case strategy memorandum.
11122/2013   Eric Moores         0.3   $      61.50    Strategize     regarding      meet and confer letter to borrower
                                                       required     by court prior to motion to dismiss.
11122/2013   Sean K. McElenney   0.8   $    324.00     Review and revise initial case strategy memorandum.
1112312013 Eric Moores            2    $    410.00     Draft meet and confer letter to I. Dodev.
1112512013 Eric Moores           5.6   $   1,147.25    Continue      drafting meet and confer letter to I. Dodev.
11125/2013 Sean K. McElenney     0.3   $     123.25    Attention     to meet and confer in advance                of filing motion to
                                                       dismiss as required          by judge's     order.
11125/2013   Coree E. Neumeyer         $    290.00     Edit meet, confer letter to plaintiff            regarding       motion to
                                                       dismiss.
11126/2013   Coree E. Neumeyer   0.2   $      58.80    Strategize     regarding      extension     to respond to complaint              due to
                                                       ongoing      meet, confer efforts.
11/26/2013   Eric Moores         0.3   $      61.50    Strategize     regarding      extension     to respond to complaint              due to
                                                       ongoing      meet, confer efforts.
11/26/2013   Eric Moores         0.4   $      82.00    Correspond       with I. Dodev regarding              stipulation     for extension
                                                       to complaint      response      deadline.
1112612013 Eric Moores           0.1   $      20.50    Edit meet and confer letter to I. Dodev.
11127/2013 Sean K. McElenney     0.1   $      40.50    Review and approve             meet and confer letter.
11127/2013 Eric Moores           0.4   $      82.00    Correspond       with I. Dodev regarding              stipulation     for
                                                       extension.
11127/2013   Eric Moores         0.3   $      61.50    Strategize     regarding      motion for extension,           possible       motion to
                                                       dismiss.
11/27/2013   Eric Moores         0.4   $      82.00    Finalize     meet and confer letter to I. Dodev.
11127/2013   Eric Moores         0.2   $      41.00    Correspond       with I. Dodev regarding              meet and confer letter.


11127/2013   Coree E. Neumeyer   0.1   $      29.00    Strategize     regarding      motion to dismiss.
11127/2013   Coree E. Neumeyer   0.2   $      58.00    Edit meet, confer letter to plaintiff            regarding          motion to
                                                       dismiss.
12/112013    Eric Moores         4.2   $     861.00    Draft motion to dismiss.
12/2/2013    Eric Moores         0.2   $      41.00    Strategize     regarding       extension     of response      deadline.
12/212013    Eric Moores         0.2   $      41.00    Correspond       with I. Dodev regarding              stipulation     for extension
                                                       of response      deadline.
12/2/2013    Coree E. Neumeyer   0.2   $      58.00    Correspond       with plaintiff      regarding       meet, confer effort.
12/212013    Eric Moores         0.7   $     143.50    Draft motion for extension               to respond     to complaint,         proposed
                                                       order.
12/212013    Coree E. Neumeyer   0.2   $      58.00    Edit motion for extension            to respond        to complaint.
12/312013    Eric Moores         0.4   $      82.00    Correspond        with I. Dodev regarding             meet and confer letter.


12/3/2013    Coree E. Neumeyer   0.1   $      29.00    Review correspondence              with plaintiff       concerning          response       to
                                                       complaint.
 12/3/2013   Coree E. Neumeyer   0.1   $      29.00    Review order granting            motion for extension            to respond to
                                                       complaint.
 12/4/2013   Eric Moores         0.3   $      61.50    Review plaintiffs           motion for temporary           restraining       order,
                                                       preliminary       injunction.




                                                  2 of 23
            Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15          Page 12 of 34


12/4/2013     Sean K. McElenney   0.3   $   121.50   Attention to filings and communications with district court
                                                     cIerk regarding erroneous entry of default.
12/4/2013     Coree E. Neumeyer   0.1   $   29.00    Review minute order denying plaintiff's application for entry
                                                     of default as to Bank of America, Recontrust, and B.
                                                     Moynihan.
12/4/2013     Coree E. Neumeyer   0.2   $   58.00    Correspond with co-defendant's counsel regarding meet,
                                                     confer process.
12/4/2013     Eric Moores         0.2   $   41.00    Review plaintiff's motions for default.
12/4/2013     Eric Moores         0.3   $   61.50    Strategize regarding plaintiff's motion for default.
12/4/2013     Coree E. Neumeyer   0.1   $   29.00    Review entries of default against G. Hassell, Select Portfolio
                                                     Servicing
12/4/2013     Coree E. Neumeyer   0.2   $    58.00   Correspond with in-house counsel V. Hansen regarding case
                                                     strategy.
12/4/2013     Coree E. Neumeyer   0.2   $    58.00   Review applications for entry of default against Bank of
                                                     America, Recontrust, B. Moynihan.
12/4/2013     Coree E. Neumeyer   0.5   $   145.00   Analyze plaintiff's motion for emergency injunctive relief.

12/4/2013     Coree E. Neumeyer   0.3   $    87.00   Research regarding fair debt collection practices act in
                                                     connection with motion to dismiss.
12/4/2013     Eric Moores         0.2   $    41.00   Edit initial case strategy memorandum.
12/4/2013     Coree E. Neumeyer   0.3   $    87.00   Edit initial case strategy memorandum.
12/5/2013     Eric Moores         0.1   $    20.50   Strategize regarding Plaintiff's amended complaint.
12/512013     Coree E. Neumeyer   0.3   $    87.00   Analyze plaintiff's first amended complaint.
12/512013     Coree E. Neumeyer   0.1   $    29.00   Analyze co-defendant's motion to set aside entry of default.

12/5/2013     Coree E. Neumeyer   0.3   $    87.00   Correspond with co-defendant's counsel, in-house counsel
                                                     regarding representation of investor.
12/512013     Sean K. McElenney   0.6   $   243.00   Attention to first amended complaint and initial case strategy
                                                     memorandum.
12/6/2013     Sean K. McElenney   0.1   $    40.50   Receipt and review of Dodev's opposition to motion for
                                                     extension oftime filed by SPS.
12/6/2013     Sean K. McElenney   0.2   $    81.00   Review and revise initial case strategy memorandum.
12/6/2013     Coree E. Neumeyer   0.1   $    29.00   Review plaintiff's opposition to co-defendant's motion set
                                                     aside entry of default.
12/6/2013     Coree E. Neumeyer   0.1   $    29.00   Correspond with in-house counsel V. Hansen regarding
                                                     representation of investor.
12/6/2013     Eric Moores         0.4   $    82.00   Finalize initial case strategy memorandum.
12/612013     Eric Moores         0.2   $    41.00   Review Plaintiff's Response in Opposition to Motion for
                                                     Extension and Motion to Set Aside Default filed by Select
                                                     Portfolio Servicing.
12/6/2013     Eric Moores         0.1   $    20.50   Correspond with in-house counsel V. Hansen regarding
                                                     initial case strategy memorandum.
12/912013     Eric Moores         0.4   $    82.00   Review motion for sanctions and motion opposing to G.
                                                     Hassel's motion to set aside default filed by I. Dodev.
12/9/2013     Eric Moores         0.2   $    41.00   Strategize regarding motion to dismiss.
12/9/2013     Eric Moores         0.3   $    61.50   Correspond with I. Dodev regarding meet and confer letter,
                                                     motion to dismiss.
12/9/2013     Coree E. Neumeyer   0.1   $    29.00   Review plaintiff's motion to sanction co-defendant's counsel.

12/1012013    Eric Moores         0.2   $    41.00   Analyze motion to set aside default, filed by Select Portfolio
                                                     Services.
12110120 13 Coree E. Neumeyer     0.1   $    29.00   Review correspondence from MRT specialist S. Gregory.




                                                3 of 23
            Case 2:13-cv-02155-DLR       Document 157-1          Filed 10/06/15           Page 13 of 34


1211212013    Sean K. McElenney   0.24   $     95.80    Receipt and review of communication from MRT specialist
                                                        S. Gregory and reply to same.
1211212013    Coree E. Neumeyer   0.3    $     87.00    Draft correspondence to MRT specialist S. Gregory
                                                        regarding case information.
1211212013    Sean K. McElenney   0.06   $     24.30    Receipt and review of communication from MRT special ist
                                                        S. Gregory and reply to same.
1211312013    Coree E. Neumeyer   0.3    $      87.00   Analyze co-defendants' motion to dismiss.
1211312013    Coree E. Neumeyer   1.5    $     435.00   Edit motion to dismiss.
12/13/2013    Eric Moores         5.7    $   1,168.50   Prepare motion to dismiss.
12113/2013    Eric Moores         0.2    $      41.00   Strategize regarding motion to dismiss.
12113/2013    Sean K. McElenney   0.8    $     324.00   Review and revise motion to dismiss.
12/1612013    Eric Moores         0.1    $      20.50   Review court's order regarding certification of conferral for
                                                        motion to dismiss.
12116/2013    Eric Moores         0.1    $     20.50    Strategize regarding court's order regarding certification of
                                                        conferral for motion to dismiss.
12/16/2013    Coree E. Neumeyer   0.1    $     29.00    Review order concerning certification of conferral regarding
                                                        motion to dismiss.
12/1612013    Coree E. Neumeyer   0.1    $     29.00    Confer with court regarding erroneous order concerning
                                                        certification of conferral.
12/1612013    Sean K. McElenney   0.3    $    121.50    Receipt and review of Recontrust's motion to dismiss and
                                                        request for judicial notice.
12118/2013    Coree E. Neumeyer   0.1    $     29.00    Review co-defendants' response to plaintiffs motion for
                                                        sanctions against counsel.
12120/2013    Eric Moores         0.2    $     41.00    Strategize regarding response to application for temporary
                                                        restraining order.
12/2012013    Coree E. Neumeyer    2     $    580.00    Draft response in opposition to plaintiffs motion for
                                                        injunctive relief.
1212012013    Eric Moores         0.3    $     61.50    Draft opposition to plaintiffs application for temporary
                                                        restraining order.
12/20/2013    Coree E. Neumeyer   0.5    $    145.00    Edit response to plaintiffs motion for injunctive relief.
12/2312013    Coree E. Neumeyer   0.3    $     87.00    Finalize response to plaintiffs motion for injunctive relief.

12/23/2013    Sean K. McElenney   0.7    $    283.50    Review and revise response to plaintiffs motion for
                                                        temporary restraining order.
 113/2014     Eric Moores         0.4    $      86.00   Review pleadings filed by plaintiff, including motion for
                                                        sanctions against K. Lepore, application for entry of default,
                                                        affidavits.
 11312014     Sean K. McElenney   0.6    $    252.00    Receipt and review of application for entry of default and
                                                        attention to same.
 1/312014     Coree E. Neumeyer   0.2    $     63.00    Analyze plaintiffs motion for sanctions against counsel.
 116/2014     Coree E. Neumeyer   0.1    $     31.50    Review order denying request to enter default against co-
                                                        defendants.
 116/2014     Sean K. McElenney   0.2    $     84.00    Receipt and review of email from plaintiff.
 116/2014     Eric Moores         0.2    $     43.00    Analyze minute entry regarding Plaintiffs motions for
                                                        default.
 11712014     Eric Moores         0.3    $     64.50    Correspond with in-house counsel V. Hansen regarding
                                                        possible sale postponement.
 11712014     Eric Moores         0.2    $     43.00    Analyze court's order denying plaintiffs motion for
                                                        temporary restraining order, permanent injunction.
 11712014     Eric Moores         0.1    $     21.50    Correspond with MRT specialist S. Gregory regarding status
                                                        of case.
 11712014     Coree E. Neumeyer   0.1    $     31.50    Review correspondence from plaintiff regarding trustee's
                                                        sale.



                                                   4 of 23
            Case 2:13-cv-02155-DLR        Document 157-1         Filed 10/06/15          Page 14 of 34


11712014      Coree E. Neumeyer    0.1    $    31.50   Review order denying plaintiff's motion for injunctive relief.

11712014      Sean K. McElenney    0.1    $    42.00   Receipt and review of facsimile from plaintiff.
11712014      Sean K. McElenney    0.6    $   252.00   Receipt and review of order denying temporary restraining
                                                       order and communications with client team regarding
                                                       progressing with trustee's sale.
1/8/2014      Eric Moores          0.4    $    86.55   Correspond with MRT specialist S. Gregory regarding status
                                                       of case.
118/2014      Sean K. Mcfilenney   0.1    $    42.00   Follow-up communication with MRT specialist S. Gregory.

1/912014      Coree E. Neumeyer    0.4    $   126.00   Analyze plaintiff's response to motion to dismiss.
1/9/2014      Eric Moores          0.1    $    21.50   Strategize regarding reply to plaintiff's response to motion to
                                                       dismiss.
 119/2014     Eric Moores          0.8·   $   172.00   Analyze plaintiff's response to motion to dismiss.
1110/2014     Eric Moores          0.6    $   129.00   Continue analysis of plaintiff's response to motion to
                                                       dismiss.
1114/2014     Eric Moores          0.1    $    21.50   Correspond with S. Bagley regarding status of case mapping
                                                       form submissions.
1114/2014     Coree E. Neumeyer    0.2    $    63.00   Analyze co-defendant's reply in support of
                                                       motion to dismiss.
111512014     Eric Moores          0.5    $   107.50   Analyze plaintiff's response to motion to dismiss filed by
                                                       BANA, ReconTrust, B. Moynihan.
1119/2014     Eric Moores          0.3    $    64.50   Draft reply to plaintiff's response to motion to dismiss.
1120/2014     Eric Moores           2     $   429.60   Draft reply to plaintiff's response to motion to dismiss.
112012014     Eric Moores          3.6    $   774.00   Continue drafting reply to plaintiff's response to motion to
                                                       dismiss.
112112014 Eric Moores              0.7    $   150.50   Analyze plaintiff's brief regarding CWAL T, pooling service
                                                       agreement.
112112014 Eric Moores              3.9    $   838.50   Continue drafting reply in support of motion to dismiss.
112112014 Eric Moores              0.6    $   129.00   Strategize regarding reply in support of motion to dismiss.

112112014 Coree E. Neumeyer        1.2    $   378.00   Edit reply in support of motion to dismiss.
112112014 Sean K. McElenney        0.8    $   336.00   Review and revise reply in support of motion to dismiss.
1123/2014 Eric Moores              0.3    $    64.50   Review plaintiff's reply to response to motion for sanctions
                                                       against K. Lepore, B. Klein.
1128/2014     Coree E. Neumeyer    0.1    $    31.50   Review order denying plaintiff's motion for sanctions against
                                                       counsel.
1/28/2014     Coree E. Neumeyer    0.3    $    94.50   Analyze plaintiffs' motion to strike reply in support of
                                                       motion to dismiss.
1128/2014     Eric Moores          0.6    $   129.00   Analyze plaintiff's Motion to Strike BAN A's Reply in
                                                       Support of Motion to Dismiss, Motion to Dismiss.
2/512014      Sean K. McElenney    0.3    $   126.00   Attention to requirement to confer regarding 26.1 report.
21712014      Sean K. McElenney           $   420.00   Attention to compliance with Rule of Civil Procedure 26(t)
                                                       regarding conferring with opposing party prior to scheduling
                                                       conference and attention to notice of removal and motion to
                                                       dismiss or enlargement of time in which to respond.


2112/2014     Sean K. McElenney    0.2    $    84.00   Status update to client.
2112/2014     Eric Moores          0.3    $    64.50   Correspond with J. Tezra regarding case status update.
211312014     Eric Moores          2.7    $   580.50   Prepare response to plaintiff's motion to strike BAN A's
                                                       motion to dismiss.
211312014     Eric Moores          0.1    $    64.50   Strategize regarding response to plaintiff's motion to strike
                                                       BAN A's motion to dismiss.



                                                  5 of 23
           Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15          Page 15 of 34


211312014    Coree E. Neumeyer   0.3   $    94.50   Edit response to plaintiff's motion to strike motion to
                                                    dismiss.
2113/2014    Sean K. McElenney   0.6   $   252.00   Review and revise reply in support of motion to dismiss.
2/14/2014    Sean K. McElenney   0.3   $   126.00   Receipt and review of filing declaring fiduciary and attention
                                                    to motion to strike as frivolous.
2114/2014    Eric Moores         0.7   $   150.50   Analyze plaintiff's appointment oftrustees, body of law
                                                    supporting appointment of trustees
2/1412014    Eric Moores         0.4   $    86.00   Strategize regarding response to plaintiff's appointment of
                                                    trustees, body oflaw supporting appointment of trustees.
211412014    Coree E. Neumeyer   0.5   $   157.50   Analyze plaintiff's motion to appoint counsel as fiduciaries.

2114/2014    Coree E. Neumeyer   0.1   $    31.50   Correspond with co-defendant's counsel regarding joint
                                                    objection to plaintiff's appointment of fiduciary.
2/17/2014    Eric Moores         0.4   $    86.00   Correspond with K. Lepore regarding response to plaintiff's
                                                    appointment of trustees, fiduciaries.
2/1712014    Eric Moores         0.3   $    64.50   Analyze plaintiff's filing regarding appointment of trustees,
                                                    fiduciaries.
2118/2014    Eric Moores         0.3   $    64.50   Strategize regarding trustee's sale.
211812014    Eric Moores         0.1   $    21.50   Correspond with K. Lepore regarding response to plaintiff's
                                                    appointment of trustees.
2118/2014    Coree E. Neumeyer   0.3   $    94.50   Correspond with in-house counsel V. Hansen regarding
                                                    trustee's sale.
2119/2014    Sean K. McElenney   0.2   $    84.00   Review litigation status, modification status, strategy and
                                                    settlement posture.
2/2012014    Eric Moores         0.1   $    21.50   Review case developments, strategy.
2120/2014    Eric Moores         0.3   $    64.50   Analyze plaintiff's reply to defendants' response to motion to
                                                    strike.
2121/2014    Coree E. Neumeyer   0.1   $    31.50   Check online bankruptcy court information for new
                                                    bankruptcy petition for borrower.
2/2112014    Coree E. Neumeyer   0.2   $    63.00   Correspond with in-house counsel V. Hansen, trustee
                                                    regarding trustee's sale.
2/2112014    Sean K. McElenney   0.2   $    84.00   Receipt and review of notice related to Dodev's chapter 11
                                                    bankruptcy filing.
2/25/2014    Eric Moores         0.1   $    21.50   Correspond with in-house counsel V. Hansen regarding
                                                    plaintiff's appointment of fiduciary, trustees.
2128/2014    Eric Moores         3.5   $   752.50   Draft response to plaintiff's assignment of
                                                    trustees/fiduciaries.
3/312014     Coree E. Neumeyer   0.3   $    96.00   Edit response to plaintiff's appointment of fiduciaries.
3/312014     Eric Moores         0.6   $   129.00   Edit response to Plaintiff's Appointment of
                                                    Fiduciary/Trustee.
3/3/2014     Eric Moores         0.1   $    21.50    Strategize regarding response to Plaintiff's Appointment of
                                                     Fiduciary/Trustee.
3/3/2014     Eric Moores         0.2   $    43.00   Correspond with co-defendant's counsel K. Lepore regarding
                                                    response to Plaintiff's Appointment of Fiduciary/Trustee.

3/312014     Eric Moores         0.2   $    43.00   Finalize response to Plaintiff's Appointment of
                                                    Fiduciary/Trustee.
3/312014     Eric Moores         0.4   $    86.00   Correspond with B. Klein regarding response to Plaintiff's
                                                    Appointment of Fiduciary/Trustee.
3/3/2014     Eric Moores         0.2   $    43.00   Strategize regarding response to Plaintiff's Appointment of
                                                    Fiduciary/Trustee.
3/312014     Sean K. McElenney   0.3   $   127.50   Review and revise response to plaintiff's assignment of
                                                    trustees.



                                               6 of 23
            Case 2:13-cv-02155-DLR      Document 157-1        Filed 10/06/15         Page 16 of 34


3/6/2014      Eric Moores         0.7   $   150.50   Draft updated quarterly case strategy memorandum.
31712014      Eric Moores         0.1   $    21.50   Edit updated quarterly case strategy memorandum.
31712014      Sean K. McElenney   0.3   $   127.50   Review and approve updated quarterly case strategy
                                                     memorandum.
3/1 0/2014    Coree E. Neumeyer   0.1   $    32.00   Review updated quarterly case strategy memorandum.
3/1112014     Sean K. McElenney   0.1   $    42.50   Receipt and review of communication from MRT Specialist
                                                     T. Jordan.
3113/2014     Sean K. McElenney         $   425.00   Review status update to MRT Specialist T. Jordan.
3/1312014     Eric Moores         0.3   $    64.50   Correspond with MRT Specialist T. Jordan regarding status
                                                     inquiry.
4/8/2014      Sean K. McElenney   0.1   $    42.50   Receipt and review of communication from MRT Specialist
                                                     T. Jordan regarding status and reply to same.
411012014     Eric Moores         0.2   $    43.00   Correspond with MRT Specialist T. Jordan regarding status
                                                     of matter.
4/15/2014     Eric Moores         0.2   $    43.00   Correspond with K. Lepore regarding Dodev's bankruptcy
                                                     proceeding.
411512014     Eric Moores         0.1   $    21.50   Strategize regarding Dodev's bankruptcy proceeding.
4115/2014     Coree E. Neumeyer   0.1   $    32.00   Review correspondence from co-defendants' counsel
                                                     regarding plaintiffs bankruptcy.
4/2112014     Coree E. Neumeyer   0.1   $    32.00   Review notice of bankruptcy petition.
4/2112014     Eric Moores         0.1   $    21.50   Review plaintiffs notice of bankruptcy.
4/2212014     Eric Moores         0.2   $    43.00   Review order staying proceedings for 6 months.
5/12/2014     Eric Moores         0.3   $    64.50   Correspond with MRT Specialist T. Jordan regarding status
                                                     of case.
5/1212014     Eric Moores         0.2   $    43.00   Review court's orders regarding continuance during
                                                     plaintiffs bankruptcy proceedings.
6/5/2014      Eric Moores         0.3   $    64.50   Prepare updated quarterly case strategy memorandum.
6/6/2014      Eric Moores         0.1   $    21.50   Correspond with in-house counsel V. Hansen regarding
                                                     updated quarterly case strategy memorandum.
6/6/2014      Sean K. McElenney   0.3   $   127.50   Review and revise updated quarterly case strategy
                                                     memorandum and strategy analysis related to same.
6/6/2014      Sean K. McElenney   0.1   $    42.50   Communications with MRT Specialist T. Jordan regarding
                                                     status.
6/1012014     Eric Moores         0.1   $    21.50   Correspond with MRT Specialist T. Jordan regarding case
                                                     status.
6/1012014     Eric Moores         0.2   $    43.00   Analyze court records in bankruptcy matter to determine
                                                     status.
6123/2014     Coree E. Neumeyer   0.1   $    32.00   Review co-defendant's motion to lift bankruptcy stay.
6/2312014     Eric Moores         0.4   $    86.00   Review motion to lift stay filed by co-defendants.
 7/112014     Eric Moores         0.3   $    64.50   Review order regarding reassignment of case to Judge Rayes,
                                                     update pleading templates with new case number.
7/112014      Coree E. Neumeyer   0.1   $    32.00   Review plaintiffs response to co-defendant's motion to lift
                                                     stay.
7/1/2014      Eric Moores         0.4   $    86.00   Review plaintiffs response to motion to lift stay.
7/112014      Sean K. McElenney   0.1   $    42.50   Receipt and review of order reassigning case to Judge Rayes.

71712014      Sean K. McElenney   0.1   $    42.50   Receipt and review of communication from MRT Specialist
                                                     T. Jordan regarding status.
711012014     Eric Moores         0.4   $    86.00   Correspond with MRT Specialist T. Jordan regarding status
                                                     of matter.
7118/2014     Eric Moores         0.1   $    21.50   Review order scheduling hearing on motion to lift stay.
712412014     Eric Moores         0.1   $    21.50   Review court order rescheduling oral argument regarding
                                                     motion to lift stay.



                                                7 of 23
            Case 2:13-cv-02155-DLR       Document 157-1        Filed 10/06/15          Page 17 of 34


8/6/2014      Eric Moores         0.3    $   64.50    Correspond with MRT Specialist T. Jordan regarding status
                                                      inquiry.
8/6/2014      Sean K. McElenney   0.1    $   42.50    Review communications from MRT Specialist T. Jordan
                                                      regarding status, review response to same.
8/13/2014     Eric Moores         0.3    $   64.50    Review Notice of Withdrawal of Motion to Lift Stay, Vacate
                                                      Oral Argument.
8/14/2014     Eric Moores         0.2    $   43.00    Review order vacating oral argument regarding motion to lift
                                                      stay.
8/14/2014     Coree E. Neumeyer   0.1    $   32.00    Review co-defendants' withdrawal of motion to lift stay,
                                                      request to vacate oral argument.
8127/2014     Sean K. McElenney   0.1    $   42.50    Receipt and review of order regarding conference with
                                                      plaintiff Green Tree.
8/27/2014     Coree E. Neumeyer   0.1    $   32.00    Review order setting case scheduling conference.
8/27/2014     Coree E. Neumeyer   0.3    $   96.00    Strategize regarding reinstating of motion to dismiss.
8127/2014     Eric Moores         0.1    $   21.50    Review order regarding status conference, scheduling
                                                      conference date.
8/27/2014     Eric Moores         0.2    $    43.00   Review order regarding scheduling conference, report.
8/27/2014     Eric Moores         0.9    $   193.50   Prepare request to reinstate motion to dismiss, proposed
                                                      order.
8127/2014     Eric Moores         0.3    $   64.50    Strategize regarding motion to reinstate motion to dismiss,
                                                      proposed order.
812812014     Coree E. Neumeyer   0.2    $   64.00    Edit motion to reinstate motion to dismiss.
8/28/2014     Coree E. Neumeyer   0.1    $   32.00    Strategize regarding case management conference.
8128/2014     Eric Moores         0.1    $   21.50    Strategize regarding motion to reinstate motion to dismiss.
8128/2014     Eric Moores         0.2    $   43.00    Prepare motion to reinstate motion to dismiss.
812812014     Eric Moores         0.1    $   21.50    Strategize regarding motion to reinstate motion to dismiss.
8128/2014     Eric Moores         0.1    $   21.50    Strategize regarding settlement conference.
8128/2014     Sean K. McElenney   0.1    $   42.50    Attention to covering Rule 16 scheduling conference set for
                                                      October 21.
8/29/2014     Eric Moores         0.1    $    21.50   Strategize with S. K. McElenney regarding motion to
                                                      reinstate motion to dismiss.
9/2/2014      Sean K. McElenney   0.03   $    12.80   Attention to request for status update from MRT Specialist
                                                      T. Jordan.
9/2/2014      Sean K. McElenney   0.2    $    85.00   Review and approve motion to reinstate and motion to
                                                      dismiss.
9/2/2014      Eric Moores         0.3    $    64.50   Correspond with MRT Specialist T. Jordan regarding status
                                                      inquiry.
9/2/2014      Eric Moores          0.1   $    21.50    Strategize regarding motion to reinstate motion to dismiss.
9/2/2014      Sean K. McElenney   0.07   $    29.70   Attention to request for status update from MRT Specialist
                                                      T. Jordan.
9/3/2014      Eric Moores         0.1    $    21.50    Strategize regarding motion to reinstate motion to dismiss.
9/3/2014      Eric Moores         0.1    $    21.50    Instructions to legal assistant N. Daley regarding filing of
                                                      motion to reinstate motion to dismiss.
9/3/2014      Eric Moores         0.2    $    43.00   Finalize motion, order to reinstate motion to dismiss.
9/3/2014      Coree E. Neumeyer   0.1    $    32.00    Correspond with co-defendant's counsel regarding status
                                                       conference.
9/412014      Eric Moores         0.4    $    86.00    Draft updated quarterly case strategy memorandum.
9/4/2014      Coree E. Neumeyer   0.2    $    64.00    Conference with co-defendant's counsel regarding status
                                                       conference.
9/5/2014      Coree E. Neumeyer   0.1    $    32.00    Check online court case information for corporate disclosure
                                                       statement.
9/5/2014      Sean K. McElenney   0.3    $   127.50    Review and revise updated quarterly case strategy
                                                      memorandum.



                                                 8 of 23
            Case 2:13-cv-02155-DLR      Document 157-1        Filed 10/06/15           Page 18 of 34


915/2014      Eric Moores         0.2   $   43.00    Review corporate disclosure statements from co-defendants.

915/2014      Eric Moores         0.1   $   21.50    Correspond with in-house counsel V. Hansen regarding
                                                     updated quarterly case strategy memorandum.
9/8/2014      Eric Moores         0.5   $   107.50   Prepare corporate disclosure statement.
9/812014      Eric Moores         0.1   $    21.50   Strategize regarding corporate disclosure statement.
9/8/2014      Eric Moores         0.1   $    21.50   Instructions to legal assistant N. Daley regarding filing of
                                                     corporate disclosure statement.
9/8/2014      Eric Moores         0.2   $   43.00    Review order granting motion to reinstate motion to dismiss.

9111/2014     Coree E. Neumeyer   0.1   $    32.00   Review correspondence from plaintiff regarding case
                                                     management conference.
911112014     Eric Moores         0.2   $    43.00   Review correspondence from I. Dodev regarding meeting
                                                     regarding case management order.
9117/2014     Eric Moores         0.2   $    43.00   Review plaintiffs motion to reinstate motion to strike.
9/18/2014     Coree E. Neumeyer   0.2   $    64.00   Review plaintiffs motion to reinstate motion to strike.
9122/2014     Coree E. Neumeyer   0.2   $    64.00   Strategize regarding initial disclosures, Rule 26 conference
                                                     with parties.
9/22/2014     Eric Moores         0.1   $    21.50   Strategize regarding initial disclosure statement, plaintiffs
                                                     motion to reinstate motion to strike.
9/23/2014     Coree E. Neumeyer   0.4   $   128.00   Strategize regarding response to court order regarding
                                                     conferral requirements.
9123/2014     Eric Moores         0.2   $    43.00   Review court documents regarding plaintiffs motion to
                                                     strike motion to dismiss.
9/23/2014     Eric Moores         0.1   $    21.50   Strategize regarding plaintiffs motion to strike motion to
                                                     dismiss.
9123/2014     Eric Moores         0.2   $    43.00   Review order regarding plaintiffs motion to reinstate motion
                                                     to strike, order that SANA et al provide conferral
                                                     certification.
9123/2014     Eric Moores         0.2   $    43.00   Strategize regarding order that SANA et al provide conferral
                                                     certification.
9/24/2014     Eric Moores         0.2   $    43.00   Confer with I. Dodev regarding conference availability.
9/28/2014     Eric Moores         1.3   $   279.50   Prepare initial disclosure statement, review, prepare loan
                                                     documents for production.
9/28/2014     Eric Moores         0.4   $    86.00   Prepare response regarding order that defendants provide
                                                     certification of conferral.
9/2912014     Coree E. Neumeyer   0.2   $    64.00   Edit initial disclosure statement.
9129/2014     Coree E. Neumeyer   0.6   $   192.00   Edit certificate of conferral.
912912014     Coree E. Neumeyer   0.2   $    64.00   Review correspondence from plaintiff regarding initial
                                                     disclosures, scheduling conference.
9/29/2014     Eric Moores         0.3   $    64.50   Review correspondence received from Plaintiff regarding
                                                     initial disclosures, discovery requests.
9129/2014     Eric Moores         0.3   $    64.50   Strategize regarding certification of conferral.
9129/2014     Eric Moores         0.2   $    43.00   Strategize regarding initial disclosure statement.
912912014     Eric Moores         0.3   $    64.50   Prepare initial disclosure statement.
9129/2014     Eric Moores         0.2   $    43.00   Correspond with in-house counsel V. Hansen regarding need
                                                     for protective order.
9/29/2014     Eric Moores         0.7   $   150.50   Prepare certification of conferral with Plaintiff prior to
                                                     motion to dismiss.
9/2912014     Eric Moores         0.1   $    21.50   Strategize regarding certification of conferral with Plaintiff
                                                     prior to motion to dismiss.
912912014     Sean K. McElenney   0.2   $    85.00   Review plaintiffs disclosure statement and estimated
                                                     calculation of$50 million in damages.



                                                9 of 23
            Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15           Page 19 of 34


9129/2014     Sean K. McElenney   0.2   $    85.00   Receipt and review of correspondence from I. Dodev with
                                                     initial discovery requests and initial disclosure included.

9/30/2014     Sean K. McElenney   0.1   $    42.50   Attention to discovery.
9/30/2014     Sean K. McElenney   0.6   $   255.00   Attention to initial disclosure and notice of certification of
                                                     control regarding motion to dismiss.
9/30/2014     Eric Moores         0.2   $    43.00   Strategize regarding initial disclosure statement, conferral
                                                     certification.
9/3012014     Eric Moores         0.2   $    43.00   Correspond with in-house counsel V. Hansen regarding
                                                     initial disclosure statement, loan documents.
9/3012014     Eric Moores         3.5   $   752.50   Prepare initial disclosure statement, review, prepare loan
                                                     documents for potential privilege issues prior to production.

9/3012014     Eric Moores         0.2   $    43.00   Instructions to J. Monnet regarding conferral certification,
                                                     disclosure statement.
9/30/2014     Eric Moores         0.1   $    21.50   Correspond with I. Dodev regarding availability for
                                                     conference regarding scheduling order.
9/3012014     Eric Moores         0.2   $    43.00   Correspond with K. Lepore regarding availability for
                                                     conference regarding scheduling order.
9/30/2014     Justin L. Monnet    2.8   $   546.00   Prepare documents to be produced.
10/1/2014     Eric Moores               $   215.00   Prepare for, attend teleconference regarding joint R. 26(f)
                                                     report meet, confer.
10/1/2014     Eric Moores         0.3   $    64.50   Correspond with K. Lepore regarding joint R. 26(f) report
                                                     meet, confer.
10/112014     Eric Moores         0.2   $    43.00   Instruction to J. Monnet regarding initial disclosure
                                                     statement, documents for production.
10/1/2014     Justin L. Monnet    3.5   $   682.50   Prepare documents to be produced.
10/2/2014     Eric Moores         0.2   $    43.00   Correspond with in-house counsel V. Hansen regarding
                                                     initial disclosure statement.
10/212014     Eric Moores         0.1   $    21.50   Review plaintiffs notice of initial disclosure statement.
1015/2014     Eric Moores         0.1   $    21.50   Correspond with I. Dodev regarding joint scheduling report.

10/6/2014     Eric Moores         0.8   $   172.00   Review plaintiffs draft of joint Rule 26 scheduling
                                                     conference report, prepare portions applicable to bank,
                                                     related defendants.
101712014     Coree E. Neumeyer   0.2   $    64.00   Analyze order granting motion to dismiss.
101712014     Eric Moores         0.3   $    64.50   Review order dismissing complaint without prejudice.
101712014     Eric Moores         0.2   $    43.00   Correspond with K. Lepore, I. Dodev regarding scheduling
                                                     conference joint report.
101712014     Eric Moores         0.6   $   129.00   Correspond with K. Lepore regarding order granting motions
                                                     to dismiss, discovery responses.
10/8/2014     Coree E. Neumeyer   0.3   $    96.00   Review case scheduling order for compliance purposes.
10/8/2014     Coree E. Neumeyer   0.3   $    96.00   Strategize regarding clarification of discovery order in light
                                                     of complaint dismissal.
10/8/2014     Sean K. McElenney   0.9   $   382.50   Attention to order dismissing complaint, part with prejudice,
                                                     address issues regarding outstanding deadlines, ability to
                                                     amend within 15 days and communications with court and
                                                     litigation team addressing issues.
10/8/2014     Eric Moores         0.4   $    86.00    Strategize regarding status of matter.
10/8/2014     Eric Moores         0.3   $    64.50    Strategize regarding status of matter in light of order
                                                      dismissing complaint.
10/8/2014     Eric Moores         0.2   $    43.00    Correspond with K. Lepore regarding discovery strategy.




                                                10 of 23
            Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15           Page 20 of 34


10/8/2014     Eric Moores         0.2   $    43.00   Correspond with court regarding need to comply with
                                                     upcoming deadlines in light of order dismissing complaint.
1011412014 Sean K. McElenney      0.3   $   127.50   Status and strategy review.
10117/2014 Eric Moores            0.2   $    43.00   Review plaintiffs motion for extension to submit amended
                                                     complaint.
10117/2014    Eric Moores         O.l   $    21.50   Strategize regarding plaintiffs motion for extension to
                                                     submit amended complaint.
10117/2014    Coree E. Neumeyer   0.1   $    32.00   Review plaintiffs' motion for extension to submit amended
                                                     complaint.
10/2112014    Coree E. Neumeyer   0.1   $    32.00   Review co-defendant's opposition to plaintiffs motion for
                                                     extension to submit amended complaint.
10/2112014    Eric Moores         0.1   $    21.50   Review co-defendants' response to plaintiffs motion for
                                                     extension to submit amended complaint.
10123/2014    Eric Moores          3    $   645.00   Analyze plaintiffs second amended complaint.
10123/2014    Eric Moores         0.7   $   150.50   Perform legal research into recent case law cited in second
                                                     amended complaint.
10/23/2014    Eric Moores         0.2   $    43.00   Strategize regarding response to plaintiffs second amended
                                                     complaint.
10/23/2014    Sean K. McElenney   0.2   $    85.00   Compose email and address issues regarding outstanding
                                                     discovery in light of dismissal, request for additional time to
                                                     file amended complaint.
1012412014 Eric Moores            O.l   $    21.50   Review order granting plaintiffs motion for extension to
                                                     submit amended complaint.
10124/2014    Eric Moores         0.2   $    43.00   Strategize regarding deadline to respond to plaintiffs
                                                     discovery requests.
10/24/2014    Coree E. Neumeyer   0.5   $   160.00   Analyze plaintiffs second amended complaint.
10/24/2014    Coree E. Neumeyer   0.1   $    32.00   Strategize regarding plaintiffs requests for production.
10/27/2014    Eric Moores         0.6   $   129.00   Correspond with MRT Specialist T. Jordan regarding status
                                                     inquiry.
10/27/2014    Eric Moores         0.7   $   150.50   Analyze second amended complaint, legal research regarding
                                                     claims.
10/3012014    Eric Moores         0.1   $    21.50   Strategize regarding response to second amended complaint.

11/312014     Eric Moores         0.5   $   107.50   Strategize regarding motion to dismiss.
111312014     Eric Moores         2.9   $   623.50   Prepare meet, confer letter regarding amended complaint.

1113/2014     Coree E. Neumeyer   0.2   $    64.00   Strategize regarding motion to dismiss second amended
                                                     complaint.
1113/2014     Coree E. Neumeyer         $   320.00   Analyze second amended complaint in connection with meet,
                                                     confer letter, motion to dismiss.
1114/2014     Eric Moores         0.2   $    43.00   Strategize regarding meet, confer letter, motion to dismiss.

11/412014     Eric Moores         0.6   $   129.00   Review loan, background documents regarding HELOC lien.

111412014     Eric Moores         0.3   $    64.50   Correspond with in-house counsel V. Hansen regarding loan
                                                     file for HELOC.
1114/2014     Eric Moores         1.4   $   301.00   Prepare meet, confer letter regarding motion to.dismiss.
1114/2014     Eric Moores         0.3   $    64.50   Perform legal research of TIL A requirements, statute of
                                                     limitations in connection with motion to dismiss.
1114/2014     Eric Moores         0.4   $    86.00   Perform legal research of case law regarding private cause of
                                                     action related to violations of pooling, servicing agreements
                                                     in connection with motion to dismiss.




                                                11of 23
            Case 2:13-cv-02155-DLR      Document 157-1           Filed 10/06/15          Page 21 of 34


11/412014     Coree E. Neumeyer   4.5   $   1,440.00   Edit meet, confer letter to plaintiff regarding deficiencies of
                                                       claims in second amended complaint.
11/5/2014     Coree E. Neumeyer   0.2   $     64.00    Edit correspondence to plaintiff regarding claim deficiencies.

11/5/2014     Eric Moores         0.3   $     64.50    Correspond with MRT Specialist T. Jordan regarding
                                                       HELOC lien, loan documents.
11/512014     Eric Moores         0.3   $     64.50    Correspond with in-house counsel V. Hansen regarding
                                                       HELOC lien, loan documents, representation of Real Time.

1115/2014     Eric Moores         0.8   $    172.00    Review HELOC loan documents, second amended
                                                       complaint's allegations against Real Time.
11/5/2014     Eric Moores         0.2   $     43.00    Strategize regarding Real Time resolutions, status ofHELOC
                                                       lien.
1115/2014     Eric Moores         0.1   $     21.50    Strategize regarding meet, confer letter.
1115/2014     Eric Moores         0.4   $     86.00    Prepare meet, confer letter.
111512014     Eric Moores         0.2   $     43.00    Strategize regarding meet, confer letter.
11/5/2014     Eric Moores         0.8   $    172.00    Prepare motion to dismiss second amended complaint.
1115/2014     Sean K. McElenney   0.8   $    340.00    Review, revise District Court required meet, confer letter
                                                       related to motion to dismiss, follow up on issues regarding
                                                       representation of Real Time Resolutions as it relates to third,
                                                       fourth causes of action.
11/612014     Eric Moores         0.2   $     43.00    Correspond with in-house counsel V. Hansen regarding
                                                       scope of response to Plaintiffs second amended complaint.

111612014 Eric Moores             0.2   $     43.00    Correspond with MRT Specialist T. Jordan regarding loan,
                                                       background documents regarding HELOC.
111612014     Eric Moores         0.5   $     107.50   Analyze loan, background documents regarding Real Time
                                                       HELOC.
1116/2014     Eric Moores         0.1   $      21.50   Correspond with in-house counsel V. Hansen regarding loan,
                                                       background documents for Real Time Resolutions HELOC.

1116/2014     Eric Moores         0.1   $     21.50    Correspond with MRT Specialist T. Jordan regarding loan,
                                                       background documents regarding Real Time HELOC.

1116/2014     Eric Moores         0.1   $      21.50   Strategize regarding meet, confer letter, extension to
                                                       complaint response date.
11/6/2014     Eric Moores         0.2   $      43.00   Correspond with 1. Dodev regarding stipulation to extend
                                                       complaint response date.
111712014 Sean K. McElenney       0.2   $      85.00   Further revisions to meet, confer letter.
1111012014 Coree E. Neumeyer      0.1   $      32.00   Strategize regarding motion to dismiss.
1111012014 Eric Moores            0.2   $      43.00   Correspond with in-house counsel V. Hansen regarding
                                                       HELOC allegations.
11110/2014 Eric Moores            0.3   $      64.50   Strategize regarding meet, confer letter, motion to dismiss.

1111012014 Eric Moores            0.6   $     129.00   Prepare motion for extension to respond to complaint,
                                                       proposed order.
11/1012014    Eric Moores         0.2   $      43.00   Finalize motion for extension to respond to complaint,
                                                       proposed order.
1111112014 Eric Moores            0.1   $      21.50   Strategize regarding request for extension to complaint
                                                       response.
11/1112014    Eric Moores         0.2   $      43.00   Correspond with in-house counsel V. Hansen regarding
                                                       meet, confer letter to Plaintiff.




                                                  12 of 23
         Case 2:13-cv-02155-DLR        Document 157-1           Filed 10/06/15         Page 22 of 34


1111112014 Eric Moores           0.1   $     21.50    Review co-defendants' motion for extension to respond to
                                                      complaint.
1111112014 Coree E. Neumeyer     0.1   $     32.00    Review co-defendants' motion for extension to respond to
                                                      second amended complaint.
11112/2014   Eric Moores         0.1   $     21.50    Correspond with court regarding administrative issue with .
                                                      motion for extension of time to respond to complaint.
11112/2014 Eric Moores           0.1   $     21.50    Strategize regarding meet, confer letter to plaintiff.
1111212014 Eric Moores           0.3   $     64.50    Prepare meet, confer letter to plaintiff.
1111212014 Eric Moores           0.1   $     21.50    Correspond with I. Dodev regarding meet, confer letter.
11112/2014 Eric Moores           0.1   $     21.50    Correspond with in-house counsel V. Hansen regarding
                                                      HELOC allegations.
1111312014 Eric Moores           0.2   $     43.00    Correspond with in-house counsel V. Hansen regarding
                                                      HELOC allegations.
11118/2014   Eric Moores         0.2   $     43.00    Review notice of appearance, request for extension to
                                                      respond to complaint, by Real Time.
1111912014 Eric Moores           5.6   $   1,204.00   Prepare motion to dismiss second amended complaint.
11119/2014 Eric Moores           0.2   $      43.00   Correspond with K. Wick, co-defendant's counsel, regarding
                                                      second amended complaint, litigation background.

1111912014 Eric Moores           0.2   $     43.00    Strategize regarding motion to dismiss second amended
                                                      complaint.
11120/2014   Eric Moores         0.2   $     43.00    Strategize regarding motion to dismiss second amended
                                                      complaint.
1112012014 Eric Moores           0.4   $     86.00    Prepare motion, order to extend complaint response.
1112012014 Eric Moores           0.7   $    150.50    Review codefendants' 'motion to dismiss second amended
                                                      complaint, request for judicial notice.
1112112014 Eric Moores           0.2   $     43.00    Strategize regarding motion to dismiss.
11121/2014 Eric Moores           0.3   $     64.50    Review codefendants' motion to dismiss second amended
                                                      complaint, request for judicial notice.
1112112014 Eric Moores           0.2   $     43.00    Review plaintiffs response to motions for extensions to
                                                      complaint response date.
1112112014 Eric Moores           1.1   $    236.50    Prepare motion to dismiss second amended complaint.
1112112014 Eric Moores           0.1   $     21.50    Correspond with in-house counsel V. Hansen regarding
                                                      motion to dismiss second amended complaint.
1112112014 Coree E. Neumeyer     0.2   $     64.00    Analyze co-defendants' motion to dismiss second amended
                                                      complaint.
1112112014 Coree E. Neumeyer           $    320.00    Edit motion to dismiss second amended complaint.
1112112014 CoreeE. Neumeyer      0.1   $     32.00    Review plaintiffs opposition to defendants' motions for
                                                      extension to respond to second amended complaint.
11124/2014   Sean K. McElenney         $    425.00    Receipt, review of motion to dismiss and request forjudicial
                                                      notice from Select Portfolio.
11/24/2014   Eric Moores         0.1   $      21.50   Correspond with in-house counsel V. Hansen regarding
                                                      motion to dismiss second amended complaint.
1112412014 Eric Moores           OJ    $      64.50    Prepare motion to dismiss second amended complaint.
11/24/2014 Eric Moores           0.1   $      21.50    Review order granting motion for extension to respond to
                                                       complaint.
11/25/2014   Eric Moores         0.2   $      43.00    Review plaintiffs motion to strike codefendants' motion to
                                                       dismiss.
1112512014 Eric Moores           0.1   $      21.50    Review order regarding telephonic status conference.
11125/2014 Eric Moores           0.1   $      21.50    Correspond with K. Lepore regarding telephonic status
                                                       conference.
11125/2014   Eric Moores         0.1   $      21.50    Strategize regarding telephonic status conference.




                                                 13 of 23
            Case 2:13-cv-02155-DLR       Document 157-1         Filed 10/06/15         Page 23 of 34


11125/2014    Sean K. McElenney   0.2    $    85.00   Attention to upcoming status conference, communications
                                                      with co-defendant's counsel regarding same.
1112512014 Coree E. Neumeyer      0.1    $    32.00   Review order setting telephonic conference regarding motion
                                                      to dismiss briefing.
11125/2014    Coree E. Neumeyer   0.1    $    32.00   Strategize regarding telephonic conference on motion to
                                                      dismiss briefing.
12/3/2014     Eric Moores         0.2    $    43.00   Strategize regarding upcoming status conference.
12/312014     Eric Moores         1.2    $   258.00   Strategy regarding timeline to resolution of matter.
12/312014     Eric Moores         0.1    $    21.50   Correspond with K. Lepore regarding upcoming status
                                                      conference.
12/3/2014     Eric Moores         0.2    $    43.00   Strategize regarding plaintiffs request for extension,
                                                      communications with plaintiff.
12/312014     Eric Moores         0.2    $    43.00   Correspond with in house counsel V. Hansen regarding
                                                      plaintiffs request for extension, communications with
                                                      plaintiff.
12/312014     Sean K. McElenney   0.4    $   170.00   Attention to upcoming hearing and address issues regarding
                                                      arguments.
12/312014     Coree E. Neumeyer   0.3    $    96.00   Strategize regarding telephonic conference.
12/3/2014     Coree E. Neumeyer   0.4    $   128.00   Prepare for telephonic conference ordered by COUlt.
12/3/2014     Coree E. Neumeyer   0.5    $   160.00   Confer with plaintiff regarding method of communications,
                                                      extensions.
12/412014     Coree E. Neumeyer   0.1    $    32.00   Conference with court regarding telephonic hearing
                                                      arrangements.
12/4/2014     Coree E. Neumeyer   0.3    $    96.00   Correspond with plaintiff, co-defendants' counsel regarding
                                                      telephonic hearing.
12/4/2014     Eric Moores         0.1    $    21.50   Strategize regarding matter resolution.
12/4/2014     Eric Moores         0.2    $    43.00   Strategize regarding upcoming conference call with judge.
12/4/2014     Eric Moores         0.1    $    21.50   Strategize regarding correspondence with plaintiff.
12/4/2014     Eric Moores         0.1    $    21.50   Correspond with K. Wick regarding upcoming telephonic
                                                      status conference.
12/4/2014     Eric Moores         0.1    $    21.50   Correspond with in-house counsel V. Hansen regarding
                                                      extension for plaintiffs response to motion to dismiss.
12/5/2014     Eric Moores         0.6    $   129.00   Draft updated quarterly case strategy memorandum.
12/512014     Eric Moores         0.1    $    21.50   Strategize regarding updated quarterly case strategy
                                                      memorandum.
12/5/2014     Eric Moores         0.4    $    86.00   Attend telephonic status conference with court, counsel for
                                                      defendants, I. Dodev.
12/512014     Eric Moores         0.1    $    21.50   Correspond with in-house counsel V. Hansen regarding
                                                      updated quarterly case strategy memorandum.
12/5/2014     Coree E. Neumeyer   0.4    $   128.00   Attend telephonic hearing ordered by Court.
12/512014     Sean K. McElenney   0.3    $   127.50   Review, revise, approve updated quarterly case strategy
                                                      memorandum.
12/8/2014     Eric Moores         0.1    $    21.50   Review minute entry regarding telephonic status conference,
                                                      granting plaintiffs motion for extension to respond to motion
                                                      to dismiss.
12112/2014    Eric Moores         0.1    $    21.50    Review stipulation of dismissal regarding defendant Real
                                                       Time Resolutions.
12112/2014    Coree E. Neumeyer   O. I   $    32.00    Review stipulated dismissal of co-defendant.
12/19/2014    Eric Moores         O. I   $    21.50    Review order dismissing Real Time Resolutions with
                                                       prejudice.
12/23/2014    Eric Moores         0.4    $    86.00    Correspond with MRT Specialist T. Jordan regarding status
                                                       inquiry.




                                                 14 of 23
            Case 2:13-cv-02155-DLR      Document 157-1          Filed 10/06/15          Page 24 of 34


12/29/2014    Eric Moores         0.5   $    107.50    Review plaintiffs response to motion to dismiss, plaintiffs
                                                       additional documents submitted with response.
12/30/2014    Coree E. Neumeyer   0.5   $    160.00    Analyze plaintiffs response to co-defendants' motion to
                                                       dismiss amended complaint.
 11712015     Coree E. Neumeyer   0.2   $     69.00    Review co-defendants' reply in support of motion to dismiss
                                                       amended complaint.
 1/8/2015     Eric Moores         0.3   $     64.50    Review codefendants' reply in support of motion to dismiss.

 119/2015     Coree E. Neumeyer   0.1   $     34.50    Review plaintiffs' notice of withdrawal of TIL A, usury
                                                       causes of action.
 119/2015     Coree E. Neumeyer   0.2   $     69.00    Analyze plaintiffs response to motion to dismiss second
                                                       amended complaint.
1114/2015     Eric Moores         0.2   $     43.00    Review transcript of call between I. Dodev and Recontrust.

1114/2015     Eric Moores         O.l   $     2l.50    Strategize regarding transcript of call between I. Dodev and
                                                       Recontrust.
1114/2015     Eric Moores         0.4   $      86.00   Review plaintiffs response to motion to dismiss.
1114/2015     Eric Moores         0.2   $      43.00   Strategize regarding reply in support of motion to dismiss.
1116/2015     Eric Moores         5.4   $   1,161.00   Prepare reply in support of motion to dismiss.
1116/2015     Eric Moores         0.1   $      21.50   Strategize regarding reply in support of motion to dismiss.
1120/2015     Coree E. Neumeyer   0.5   $     172.50   Edit reply in support of motion to dismiss second amended
                                                       complaint.
112012015     Eric Moores         0.3   $     64.50    Strategize regarding reply in support of motion to dismiss.
112012015     Eric Moores         0.6   $    129.00    Prepare reply in support of motion to dismiss.
1120/2015     Eric Moores'        0.3   $     64.50    Strategize regarding reply in support of motion to dismiss.
1120/2015     Eric Moores         0.5   $    107.50    Correspond with I. Dodev regarding stipulation to extend
                                                       date for reply in support of-motion to dismiss.
112012015     Eric Moores         0.6   $    129.00    Prepare stipulation, order regarding extension to reply in
                                                       support of motion to dismiss.
112012015     Eric Moores         0.2   $     43.00    Finalize stipulation, order regarding extension to reply in
                                                       support of motion to dismiss.
1120/2015     Eric Moores         0.2   $     43.00    Correspond with MRT Specialist T. Jordan regarding status
                                                       inquiry.
1120/2015 Sean K. McElenney       0.5   $    230.00    Review, revise draft reply in support of motion to dismiss.
112112015 Eric Moores             0.1   $     2l.50    Strategize with S. K. McElenney regarding reply in support
                                                       of motion to dismiss.
1/2112015     Sean K. McElenney   0.4   $     184.00   Continued attention to reply in support of motion to dismiss.

1122/2015     Sean K. McElenney   0.3   $     138.00   Final revisions to reply in support of motion to dismiss.
1122/2015     Eric Moores         0.1   $      21.50   Strategize regarding reply in support of motion to dismiss.
112212015     Eric Moores         0.2   $      43.00   Prepare reply in support of motion to dismiss.
1122/2015     Eric Moores         0.1   $      21.50   Correspond with in-house counsel V. Hansen regarding reply
                                                       in support of motion to dismiss.
1127/2015     Eric Moores         0.1   $      21.50   Review order granting extension regarding reply in support
                                                       of motion to dismiss.
2/13/2015     Eric Moores         0.3   $      64.50   Correspond with MRT Specialist T. Jordan regarding status
                                                       inquiry.
 3/3/2015     Eric Moores         0.1   $      2l.50   Strategize regarding updated quarterly case strategy
                                                       memorandum.
 3/512015     Eric Moores         0.5   $     107.50   Prepare updated quarterly case strategy memorandum.
 3/5/2015     Eric Moores         0.1   $      21.50   Strategize regarding updated quarterly case strategy
                                                       memorandum.




                                                  15 of 23
           Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15          Page 25 of 34


3/612015     Eric Moores         0.1   $    21.50   Correspond with in-house counsel V. Hansen regarding
                                                    updated quarterly case strategy memorandum.
3/6/2015     Eric Moores         0.1   $    21.50   Edit updated quarterly case strategy memorandum.
3/612015     Sean K. McElenney   0.3   $   138.00   Review, revise updated quarterly case strategy memorandum,
                                                    attention to strategy for conclusion or settlement.

3112/2015    Eric Moores         0.2   $    43.00   Correspond with MRT Specialist T. Jordan regarding status
                                                    inquiry.
4/8/2015     Eric Moores         0.2   $    43.00   Correspond with MRT Specialist T. Jordan regarding status
                                                    inquiry.
4113/2015    Eric Moores         0.1   $    21.50   Attention to case strategy in light of order granting motion to
                                                    dismiss.
4113/2015    Eric Moores         0.6   $   129.00   Review order granting motion to dismiss.
4113/2015    Eric Moores         0.6   $   129.00   Correspond with in-house counsel V. Hansen regarding order
                                                    granting motion to dismiss.
4113/2015    Coree E. Neumeyer   0.2   $    67.00   Review order granting motion to dismiss second amended
                                                    complaint.
4114/2015    Eric Moores         0.2   $    43.00   Correspond with V. Hansen regarding order dismissing
                                                    complaint.
5/4/2015     Eric Moores         0.4   $    84.00   Review plaintiff's third amended complaint.
5/4/2015     Eric Moores         0.1   $    21.00   Correspond with K. Hayes regarding plaintiff's third
                                                    amended complaint.
5/4/2015     Coree E. Neumeyer   0.5   $   167.50   Review plaintiff's third amended complaint.
5/412015     Sean K. McElenney   0.7   $   315.00   Receipt and review of third amended complaint and analyze
                                                    same.
5/5/2015     Sean K. McElenney   0.1   $    45.00   Receipt and review of order setting Rule 16 scheduling
                                                    conference for July 7, 2015 at 4:30 p.m.
5/512015     Eric Moores         0.2   $    42.00   Review order regarding scheduling conference.
51712015     Eric Moores         0.3   $    63.00   Correspond with MRT Specialist T. Jordan regarding status
                                                    inquiry.
5/20/2015    Eric Moores         2.8   $   588.00   Prepare motion to dismiss third amended complaint.
512112015    Eric Moores         0.9   $   189.00   Correspond with I. Dodev regarding meet, confer letter.
5/2112015    Eric Moores         0.4   $    84.00   Prepare stipulation, order regarding complaint response
                                                    extension.
5/2112015    Eric Moores         0.3   $    63.00   Review codefendants' motion to dismiss third amended
                                                    complaint.
512112015    Sean K. McElenney   0.2   $    90.00   Attention to motion to dismiss for failure to state a claim on
                                                    behalf of defendants Select Portfolio and the Bank of New
                                                    York Mellon.
5/25/2015    Eric Moores         0.8   $   168.00   Prepare motion to dismiss third amended complaint.
512512015    Eric Moores         0.2   $    42.00   Correspond with I. Dodev regarding meet, confer effort in
                                                    advance of motion to dismiss.
512712015    Eric Moores         1.2   $   252.00   Correspond with I. Dodev regarding meet, confer.
512712015    Eric Moores         1.9   $   399.00   Prepare motion to dismiss third amended complaint.
5/2712015    Eric Moores         0.3   $    63.00   Strategize regarding motion to dismiss third amended
                                                    complaint.
512712015    Eric Moores         0.1   $    21.00   Correspond with in-house counsel V. Hansen regarding
                                                    motion to dismiss third amended complaint.
5/27/2015    Sean K. McElenney   0.8   $   360.00   Attention to motion to dismiss the amended complaint.
5/2812015    Sean K. McElenney         $   450.00   Review and revise motion to dismiss and prepare for filing.

5128/2015    Coree E. Neumeyer   1.6   $   536.00   Edit motion to dismiss third amended complaint.




                                               16 of 23
            Case 2:13-cv-02155-DLR      Document 157-1        Filed 10/06/15          Page 26 of 34


5/28/2015     Eric Moores         0.3   $   63.00    Strategize regarding motion to dismiss third amended
                                                     complaint.
5/2812015     Eric Moores         0.8   $   168.00   Prepare motion to dismiss third amended complaint.
5/2812015     Eric Moores         0.7   $   147.00   Correspond with l. Dodev regarding meet, confer.
5/28/2015     Eric Moores         0.2   $    42.00   Correspond with V. Hansen regarding motion to dismiss
                                                     third amended complaint.
512812015     Eric Moores         0.1   $   2i.00    Review order striking codefendants' motion to dismiss.
5129/2015     Coree E. Neumeyer   0.1   $   33.50    Review plaintiffs motion to strike co-defendants' motion to
                                                     dismiss third amended complaint.
5/29/2015     Eric Moores         0.2   $   42.00    Review plaintiffs motion to strike codefendant BNYM's
                                                     motion to dismiss.
6/112015      Eric Moores         0.1   $    21.00   Correspond with in-house counsel V. Hansen regarding
                                                     motion to dismiss.
6/1/2015      Eric Moores         0.2   $    42.00   Review codefendants' amended motion to dismiss.
6/112015      Coree E. Neumeyer   0.2   $    67.00   Review co-defendant's amended motion to dismiss third
                                                     amended complaint.
6/1/2015      Sean K. McElenney   0.2   $    90.00   Receipt and review of amended motion to dismiss plaintiffs
                                                     third amended complaint.
6/2/2015      Coree E. Neumeyer   0.1   $    33.50   Conference with plaintiff regarding hearing.
6/212015      Coree E. Neumeyer   0.1   $    33.50   Review order denying plaintiffs motion to strike motion to
                                                     dismiss.
6/2/2015      Coree E. Neumeyer   0.1   $    33.50   Review order approving stipulated extension on motion to
                                                     dismiss.
61212015      Coree E. Neumeyer   0.3   $   100.50    Strategize regarding court conference.
61212015      Eric Moores         0.4   $    84.00   Correspond with l. Dodev regarding hearing regarding
                                                     motion to dismiss, response to motion to dismiss, order
                                                     regarding extension to complaint response.
61212015      Eric Moores         0.1   $    21.00   Review order setting hearing regarding motion to dismiss,
                                                     response to motion to dismiss, order regarding extension to
                                                     complaint response.
6/212015      Eric Moores         0.3   $    63.00   Strategize regarding correspondence with I. Dodev regarding
                                                     hearing regarding motion to dismiss, response to motion to
                                                     dismiss, order regarding extension to complaint response.

61212015      Eric Moores         0.1   $    21.00   Review order granting stipulation to extend response to third
                                                     amended complaint.
6/212015      Eric Moores         0.1   $    21.00   Review order denying plaintiffs motion to strike
                                                     codefendants' motion to dismiss.
61212015      Eric Moores         0.1   $    21.00   Correspond with K. Hayes regarding discovery requests
                                                     received from J. Dodev.
6/2/2015      Eric Moores         0.2   $    42.00   Review plaintiffs initial disclosure statement.
61212015      Eric Moores         0.5   $   105.00   Review plaintiffs first set of discovery requests.
6/2/2015      Eric Moores         0.2   $    42.00   Review correspondence from I. Dodev regarding notification
                                                     that Recontrust is violating Arizona law.
61212015      Eric Moores         0.1   $    21.00   Review correspondence from I. Dodev regardingjoint
                                                     scheduling order.
6/2/2015      Eric Moores         0.2   $    42.00   Review joint discovery plan.
6/2/2015      Eric Moores         0.4   $    84.00   Strategize with in-house counsel V. Hansen regarding
                                                     Recontrust status.
61212015      Eric Moores         0.2   $    42.00   Strategize with S. K. McElenney regarding correspondence
                                                     with I. Dodev regarding hearing regarding motion to dismiss,
                                                     response to motion to dismiss, order regarding extension to
                                                     complaint response.



                                                17 of 23
            Case 2:13-cv-02155-DLR       Document 157-1         Filed 10/06/15          Page 27 of 34


6/2/2015      Eric Moores         0.1    $   21.00    Correspond with L. Rivera regarding status of Recontrust.

6/2/2015      Eric Moores         0.2    $   42.00    Correspond with I. Dodev regarding motion to dismiss.
6/3/2015      Eric Moores         0.3    $   63.00    Strategize regarding hearing regarding motion to dismiss,
                                                      discovery dispute.
6/3/2015      Eric Moores         0.1    $   21.00    Strategize regarding hearing regarding motion to dismiss,
                                                      discovery dispute.
6/3/2015      Eric Moores         0.2    $   42.00    Correspond with in-house counsel V. Hansen regarding
                                                      Recontrust.
6/3/2015      Eric Moores         0.2    $   42.00    Correspond with MRT Specialist T. Jordan regarding status
                                                      inquiry, status of trustee's sale.
6/3/2015      Coree E. Neumeyer   0.2    $   67.00    Prepare for telephonic hearing regarding issues raised by
                                                      plaintiff.
6/4/2015      Coree E. Neumeyer   0.1    $   33.50    Review minute entry regarding telephonic conference with
                                                      the court.
6/4/2015      Sean K. McElenney   0.2    $   90.00    Receipt and review of minute entry regarding proceedings
                                                      held before Judge Rayes related to discovery dispute.

6/4/2015      Coree E. Neumeyer   0.3    $   100.50   Prepare for discovery conference.
6/4/2015      Eric Moores         0.5    $   105.00   Strategize regarding hearing regarding motion to dismiss,
                                                      discovery dispute.
6/4/2015      Eric Moores         0.5    $   105.00   Perform legal research in preparation for conference call.
6/4/2015      Eric Moores         0.1    $    21.00   Correspond with T. Jordan regarding status of trustee's sale.

6/4/2015      Eric Moores         0.2    $   42.00    Correspond with V. Hansen regarding Recontrust.
6/4/2015      Eric Moores         0.1    $   21.00    Research county recorder's records regarding recent
                                                      recordings.
6/4/2015      Eric Moores         0.5    $   105.00   Attend telephonic hearing regarding issues raised by plaintiff
                                                      regarding motion to dismiss.
6/4/2015      Eric Moores         0.1    $   21.00    Review minute entry regarding telephonic hearing regarding
                                                      issues raised by plaintiff regarding motion to dismiss.

6/4/2015      Eric Moores         0.1    $   21.00    Strategize regarding updated quarterly case strategy
                                                      memorandum.
6/4/2015      Eric Moores         0.3    $   63.00    Draft updated quarterly case strategy memorandum.
6/5/2015      Eric Moores         O. I   $   21.00    Review codefendants' notice of discovery.
6/5/2015      Eric Moores         0.1    $   21.00    Correspond with V. Hansen regarding updated quarterly case
                                                      strategy memorandum.
6/5/2015      Sean K. McElenney   0.1    $   45.00    Receipt and review of notice of service of discovery by Bank
                                                      of New York Mellon and SPS.
6/5/2015      Sean K. McElenney   0.3    $   135.00   Review, revise and update quarterly case strategy
                                                      memorandum.
6/5/2015      Coree E. Neumeyer   0.1    $    33.50   Edit updated quarterly case strategy memorandum.
6/5/2015      Coree E. Neumeyer   0.1    $    33.50   Review notice of initial disclosure statement from co-
                                                      defendants.
6/8/2015      Sean K. McElenney   0.1    $   45.00    Receipt and review of initial disclosure statement.
6/8/2015      Coree E. Neumeyer   0.1    $   33.50    Review co-defendant's initial disclosure statement.
6/8/2015      Eric Moores         0.3    $   63.00    Review plaintiffs notice of discovery, disclosure statement.

6118/2015     Eric Moores         0.2    $   42.00    Correspond with I. Dodev regarding meet, confer
                                                      teleconference.
6/19/2015     Eric Moores         0.1    $    21.00   Correspond with I. Dodev regarding meet, confer
                                                      teleconference.


                                                18 of 23
            Case 2:13-cv-02155-DLR       Document 157-1         Filed 10/06/15           Page 28 of 34


612212015     Eric Moores          0.5   $   105.00   Review plaintiffs response to codefendants' motion to
                                                      dismiss.
6122/2015     Sean K. Mcfilenney   0.3   $   135.00   Receipt and review of response in opposition to motion to
                                                      dismiss and additional attachments to main document.
6/23/2015     Coree E. Neumeyer    0.2   $    67.00   Review plaintiffs opposition to co-defendant's motion to
                                                      dismiss third amended complaint.
6/2412015     Coree E. Neumeyer    0.1   $    33.50   Correspond with co-defendants' counsel regarding case
                                                      planning meeting.
6124/2015     Eric Moores          O.l   $    2l.00   Strategize regarding Rule 26 conference regardingjoint
                                                      discovery plan.
6/24/2015     Sean K. McElenney    0.2   $    90.00   Receipt and review of communication from K. Lepore
                                                      regarding Rule 26(f) meeting and initial disclosures.
6125/2015     Eric Moores          0.1   $    2l.00   Correspond with I. Dodev regarding Rule 26 conference
                                                      regarding joint discovery plan.
6125/2015     Eric Moores          0.4   $    84.00   Correspond with K. Lepore regarding Rule 26 conference
                                                      regardingjoint discovery plan, settlement communications.

6125/2015     Eric Moores          0.8   $   168.00   Attend Rule 26 conference regardingjoint     discovery plan.
6126/2015     Eric Moores          0.1   $    2l.00   Strategize regarding Rule 26 conference regarding joint
                                                      discovery plan.
6/30/2015     Eric Moores          0.4   $    84.00   Review codefendant SPS's discovery requests.
 7/1/2015     Eric Moores          0.5   $   105.00   Review plaintiffs discovery requests.
 7/1/2015     Eric Moores          0.9   $   189.00   Correspond with I. Dodev regarding discovery responses.
7/1/2015      Eric Moores          2.1   $   44l.00   Prepare response to plaintiffs first set of discovery requests.

7/1/2015      Eric Moores          0.1   $    2l.00   Correspond with V. Hansen regarding response to plaintiffs
                                                      first set of discovery requests.
7/2/2015      Eric Moores          0.8   $   168.00   Review plaintiffs response to motion to dismiss.
7/2/2015      Eric Moores          1.3   $   273.00   Prepare motion for extension for discovery responses.
7/2/2015      Eric Moores          O.l   $    21.00   Correspond with L. Remus regarding motion for extension
                                                      for discovery responses.
7/2/2015      Sean K. McElenney    0.2   $    90.00   Receipt and review of response in opposition to motion to
                                                      dismiss third amended complaint.
7/612015      Sean K. McElenney    O.l   $    45.00   Receipt and review of motion to compel filing of discovery.

 7/6/2015     Eric Moores          0.3   $    63.00   Review plaintiffs motion to compel discovery.
 7/6/2015     Eric Moores          0.3   $    63.00   Review plaintiffs response to motion to extend deadline for
                                                      discovery response.
7/6/2015      Eric Moores          0.6   $   126.00   Correspond with MRT Specialist T. Jordan regarding status
                                                      inquiry.
 7/6/2015     Coree E. Neumeyer    0.1   $    33.50   Analyze plaintiffs response to motion for extension to
                                                      respond to written discovery.
 7/6/2015     Coree E. Neumeyer    0.1   $    33.50   Analyze plaintiffs motion to compel commencement of
                                                      discovery.
 7/612015     Coree E. Neumeyer    0.1   $    33.50   Analyze plaintiffs response to motion to dismiss third
                                                      amended complaint.
 71712015     Eric Moores          0.1   $    21.00   Correspond with MRT Specialist T. Jordan regarding
                                                      Recontrust.
 71712015     Eric Moores          0.3   $    63.00   Correspond with in-house counsel V. Hansen regarding
                                                      Recontrust, responses to discovery requests.
 7/812015     Eric Moores          0.2   $    42.00   Correspond with V. Hansen regarding Recontrust, responses
                                                      to discovery requests, Recontrust foreclosure file.




                                                 19 of 23
            Case 2:13-cv-02155-DLR      Document 157-1         Filed 10/06/15          Page 29 of 34


7/812015      Eric Moores         0.2   $   42.00    Correspond with S. Ali regarding Recontrust foreclosure file,
                                                     responses to discovery requests, initial disclosure statement,
                                                     litigation status.
7/8/2015      Eric Moores         0.5   $   105.00   Review BNYM's reply in support of motion to dismiss.
7/8/2015      Eric Moores         0.5   $   105.00   Review Recontrust's foreclosure file documents.
7/8/2015      Eric Moores         0.1   $    21.00   Correspond with K. Lepore regarding joint discovery plan.

7/8/2015      Eric Moores         0.1   $    21.00   Review, update joint discovery plan.
7/8/2015      Sean K. McElenney   0.1   $    45.00   Review communications from S. Ali and V. Hansen
                                                     regarding Recontrust.
7/8/2015      Sean K. McElenney   0.3   $   135.00   Receipt and review of email from S. Ali attaching loan
                                                     documents and review same.
 7/912015     Eric Moores         0.6   $   126.00   Correspond with S. Ali regarding litigation background.
7/10/2015     Eric Moores         0.2   $    42.00   Correspond with K. Lepore regarding joint discovery plan.

7/10/2015     Eric Moores         0.5   $   105.00   Prepare joint discovery plan.
7/10/2015     Eric Moores         0.1   $    21.00   Correspond with I. Dodev regarding joint discovery plan.
7/1012015     Eric Moores         0.4   $    84.00   Review plaintiffs motion for sanctions against Recontrust's
                                                     counsel.
7110/2015     Eric Moores         0.4   $    84.00   Review plaintiffs response to motion to dismiss.
7/10/2015     Eric Moores         0.1   $    21.00   Review order setting oral argument for motion to dismiss,
                                                     staying discovery,
7110/2015     Eric Moores               $   210.00   Prepare reply in support of motion to dismiss.
7110/2015     Eric Moores         1.3   $   273.00   Perform legal research regarding reply in support of motion
                                                     to dismiss.
7110/2015     Eric Moores         0.2   $    42.00   Correspond with V. Hansen regarding discovery responses.

711012015     Coree E. Neumeyer   0.3   $   100.50   Analyze plaintiffs' motion for sanctions against counsel.
7111/2015     Eric Moores         0.1   $    21.00   Correspond with V. Hansen regarding discovery responses,
                                                     order setting oral argument on motion to dismiss.

711312015     Eric Moores         0.7   $   147.00    Review BNYM's responses to plaintiffs discovery requests.

7113/2015     Coree E. Neumeyer   0.1   $    33.50   Review order setting oral argument on motions to dismiss.
711712015     Eric Moores         0.8   $   168.00   Research regarding statute of limitations regarding trustee's
                                                     sales.
7/2012015     Eric Moores         1.2   $   252.00   Prepare reply in support of motion to dismiss.
712012015     Eric Moores         1.4   $   294.00   Perform legal research in support of reply in support of
                                                     motion to dismiss.
7123/2015     Eric Moores         0.2   $    42.00   Correspond with MRT Specialist T. Jordan regarding status
                                                     inquiry.
712312015     Eric Moores         0.1   $    21.00   Correspond with V. Hansen regarding status inquiry.
7129/2015     Eric Moores         4.6   $   966.00   Prepare reply in support of motion to dismiss.
 8/312015     Eric Moores               $   210.00   Prepare reply in support of motion to dismiss.
 8/3/2015     Eric Moores         0.8   $   168.00   Perform legal research in support of reply in support of
                                                     motion to dismiss.
8/412015      Eric Moores         0.2   $    42.00   Correspond with l. Dodev regarding reply in support of
                                                     motion to dismiss.
8/4/2015      Eric Moores         1.8   $   378.00   Prepare reply in support of motion to dismiss.
8/4/2015      Eric Moores         0.8   $   168.00   Strategize regarding reply in support of motion to dismiss.
8/412015      Eric Moores         1.3   $   273.00   Perform legal research in support of reply in support of
                                                     motion to dismiss.
8/4/2015      Coree E. Neumeyer   0.3   $   100.50   Strategize regarding oral argument on motion to dismiss.



                                                20 of 23
            Case 2:13-cv-02155-DLR      Document 157-1           Filed 10/06/15           Page 30 of 34


8/4/2015      Sean K. McElenney   1.2   $    540.00    Attention to reply in support of motion to dismiss and
                                                       upcoming hearing.
8/5/2015      Coree E. Neumeyer   0.2   $     67.00    Analysis of statute of limitations issues raised by plaintiff.
8/5/2015      Sean K. McElenney   1.8   $    810.00    Prepare for upcoming oral argument, attention to chronology
                                                       and outline issues of concern to the COUlt.
8/5/2015      Eric Moores         0.3   $     63.00    Strategize regarding motion to dismiss hearing.
8/5/2015      Eric Moores         1.2   $    252.00    Prepare for oral argument regarding motion to dismiss.
8/5/2015      Eric Moores         0.6   $    126.00    Prepare notice regarding reply in support of motion to
                                                       dismiss.
8/5/2015      Eric Moores         0.1   $     21.00    Strategize regarding notice regarding reply in support of
                                                       motion to dismiss.
8/6/2015      Eric Moores               $    210.00    Strategize regarding motion to dismiss hearing.
8/6/2015      Eric Moores         2.1   $    441.00    Review loan documents in preparation for motion to dismiss
                                                       hearing.
8/6/2015      Eric Moores         0.1   $     21.00    Prepare notice regarding reply in support of motion to
                                                       dismiss.
8/6/2015      Eric Moores         0.1   $     21.00    Correspond with court regarding notice regarding reply in
                                                       support of motion to dismiss.
8/6/2015      Eric Moores         1.3   $    273.00    Perform legal research regarding status of debt after
                                                       bankruptcy discharge.
8/6/2015      Sean K. McElenney         $    450.00    Further attention to preparation for oral argument and
                                                       clarifying issues and factual disputes to identify to the COUlt
                                                       as red herrings.
8/6/2015      Sean K. McElenney   0.3   $    135.00    Attention to issues regarding timing of filings and potential
                                                       need to continue oral argument.
8/6/2015      Teresa P. Meece     0.7   $    157.50    Analyze case law to assist in preparation for oral argument.

8/6/2015      Coree E. Neumeyer   5.9   $   1,976.50   Prepare for oral argument on motion to dismiss third
                                                       amended complaint.
8/6/2015      Coree E. Neumeyer   0.3   $    100.50    Research regarding impact of bankruptcy discharge on
                                                       underlying debt in connection with oral argument
                                                       preparation.
8/6/2015      Coree E. Neumeyer   0.5   $    167.50    Edit table of authorities required for oral argument.
81712015      Coree E. Neumeyer         $    335.00    Attend oral argument on motion to dismiss third amended
                                                       complaint.
81712015      Coree E. Neumeyer    2    $    670.00    Prepare for oral argument on motion to dismiss.
8/7/2015      Sean K. McElenney   2.2   $    990.00    Prepare for and participate in oral argument on motion to
                                                       dismiss.
8/7/2015      Eric Moores         1.3   $    273.00    Attend oral argument regarding motion to dismiss third
                                                       amended complaint.
81712015      Eric Moores         0.1   $     21.00    Review minute entry regarding oral argument regarding
                                                       motion to dismiss third amended complaint.
81712015      Eric Moores         0.1   $     21.00    Review minute entry regarding plaintiffs motion to strike
                                                       reply ISO motion to dismiss third amended complaint.
8/1112015     Coree E. Neumeyer   0.4   $     134.00   Conference with D. Cowles trustee regarding foreclosure.

8/1112015     Eric Moores         0.2   $     42.00    Strategize regarding resolution strategy, remaining tasks.
8/1112015     Sean K. McElenney   0.1   $     45.00    Prepare information on status of ruling on motion to dismiss
                                                       third amended complaint.
8/24/2015     Sean K. McElenney         $    450.00    Receipt and review of court order granting motion to dismiss
                                                       for failure to state a claim, analyze same and address strategy
                                                       regarding fee application.




                                                 21 of 23
            Case 2:13-cv-02155-DLR            Document 157-1             Filed 10/06/15          Page 31 of 34


8/24/2015     Coree E. Neumeyer       0.2    $        67.00    Analyze order granting motions to dismiss third amended
                                                               complaint.
8/24/2015     Coree E. Neumeyer       0.2    $        67.00    Strategize regarding fee application.
8/24/2015     Eric Moores             0.5    $       105.00    Review order granting motion to dismiss.
8/24/2015     Eric Moores             0.6    $       126.00    Strategize regarding order granting motion to dismiss,
                                                               request for attorneys' fees.
8/28/2015     Sean K. McElenney       0.2    $        90.00    Follow-up attention to attorneys' fee strategy.
8/3112015     Sean K. McElenney       0.5    $       225.00    Communication with client team regarding granting of
                                                               motion to dismiss and strategy related to attorneys' fees.
8/3112015     Eric Moores             0.1    $        21.00    Correspond with S. Ali regarding status inquiry, order
                                                               granting motion to dismiss.
9/4/2015      Eric Moores             0.5    $       105.00    Prepare updated quarterly case strategy memorandum.
9/4/2015      Eric Moores             0.1    $        21.00    Correspond with V. Hansen regarding updated quarterly case
                                                               strategy memorandum.

                    TOTAL:          302.10   $    77,112.55

                                        September 5, 2015 - September 29, 2015
                                  Fees Incurred in Preparing Attorney's Fees Motion
  Date               Person         Hours       Amount                                 Description
9/8/2015      Eric Moores             0.5     $     105.00    Strategize regarding request for attorneys' fees.
9/8/2015      Eric Moores             0.2     $       42.00   Perform legal research regarding request for attorneys' fees.

9/8/2015      Eric Moores             1.4    $       294.00    Prepare, finalize motion for extension to submit request for
                                                               attorneys' fees.
9/8/2015      Coree E. Neumeyer       0.5    $       167.50    Strategize regarding application for attorneys' fees.
9/8/2015      Coree E. Neumeyer       0.2    $        67.00    Edit motion for extension of time to submit attorney fee
                                                               application.
9/8/2015      Sean K. McElenney       0.2    $        90.00    Attention to fee application and request for extension of
                                                               time.
9/1112015     Eric Moores             OJ     $        63.00    Strategize regarding request for attorneys' fees.
9111/2015     Coree E. Neumeyer       1.5    $       502.50    Draft motion for attorneys' fees, supporting documentation.

9115/2015     Eric Moores             0.1    $        21.00    Review order granting motion to dismiss third amended
                                                               complaint in connection with attorneys' fee motion.
9115/2015     Eric Moores             0.2     $       42.00    Correspond with L. Acker and S. Duggan in accounting
                                                               regarding fees incurred.
9116/2015     Eric Moores             0.1     $       21.00    Correspond with L. Acker in accounting regarding fees
                                                               incurred.
9116/2015     Eric Moores             2.4     $      504.00    Continue drafting motion for attorneys' fees.
9117/2015     Eric Moores             0.2     $       42.00    Strategize regarding motion for attorneys' fees.
9/17/2015     Eric Moores             4.7     $      987.00    Continue drafting motion for attorneys' fees.
9/18/2015     Eric Moores             OJ      $       63.00    Strategize regarding motion for attorneys' fees.
9/18/2015     Eric Moores             0.6     $      126.00    Edit motion for attorneys' fees.
9/18/2015     Eric Moores             0.2     $       42.00    Telephone calls to I. Dodev in effort to consult in advance of
                                                               motion for attorneys' fees.
9/18/2015     Eric Moores             0.1     $       21.00    Strategize regarding notice to court of intention to submit
                                                               request for attorneys' fees.
9118/2015     Coree E. Neumeyer        5      $     1,675.00   Prepare itemized statement of attorneys' fees.
9118/2015     Coree E. Neumeyer       0.7     $       234.50   Draft notice, motion regarding application for attorneys' fees.

9118/2015     Coree E. Neumeyer       0.5     $       167.50    Edit declaration of counsel in support of motion for
                                                                attorneys' fees.



                                                         22 of 23
            Case 2:13-cv-02155-DLR       Document 157-1            Filed 10/06/15          Page 32 of 34


9118/2015     Coree E. Neumeyer   0.5    $    167.50     Edit motion for attorneys' fees.
9118/2015     Sean K. McElenney   0.7    $    315.00     Attention to fee application, review and revise same and
                                                         approve exhibits providing itemized time entries.
9121/2015     Coree E. Neumeyer   0.1    $     33.50     Review plaintiffs affidavit in support of his motion for
                                                         reconsideration.
9/2112015     Coree E. Neumeyer   0.3    $    100.50     Edit declaration of counsel in support of motion for
                                                         attorneys' fees.
9/2112015     Coree E. Neumeyer   0.3    $    100.50     Edit motion for attorneys' fees.
912112015     Coree E. Neumeyer   0.4    $    134.00     Edit itemization of attorneys' fees in support of motion for
                                                         same.
9121/2015     Coree E. Neumeyer   0.2    $     67.00     Strategize regarding scope of attorneys' fees request.
912112015     Coree E. Neumeyer   0.5    $    167.50     Review billing invoices sent to client in connection with
                                                         attorneys' fee application.
912112015     Coree E. Neumeyer   0.3    $    100.50     Research regarding local district court requirements for
                                                         supporting affidavit of counsel.
912112015     Coree E. Neumeyer   0.2    $     67.00     Review plaintiffs' motion for reconsideration.
9121/2015     Eric Moores         0.1    $     21.00     Correspond with J. James regarding notice to court of
                                                         intention to submit request for attorneys' fees.
912112015     Eric Moores         0.1    $     21.00     Strategize regarding scope of request for attorneys' fees.

9/2112015     Eric Moores         0.2    $     42.00     Review plaintiffs affidavit of supporting facts regarding
                                                         motion for reconsideration.
912112015     Eric Moores         0.3    $     63.00     Review plaintiffs motion for reconsideration.
9122/2015     Eric Moores         0.1    $     21.00     Correspond with J. James regarding plaintiffs motion for
                                                         reconsideration.
9/22/2015     Coree E. Neumeyer   0.2    $     67.00     Analyze plaintiffs motion for reconsideration.
9/22/2015     Sean K. McElenney   0.5    $    225.00     Address issues related to fee application and requirements of
                                                         Local Rules 54.2(d)(4)(B).
912312015     Coree E. Neumeyer   0.1    $      33.50    Review judgment in a civil case.
9/2312015     Coree E. Neumeyer   0.1    $      33.50    Review order regarding entry of judgment, motion for
                                                         attorneys' fees.
912312015     Coree E. Neumeyer   0.2    $      67.00    Strategize regarding scope of attorneys' fee request.
9/23/2015     Eric Moores         0.1    $      21.00    Review order regarding motion for extension to request
                                                         attorneys' fees.              ,
912312015     Eric Moores         0.1    $      21.00    Correspond with J. James regarding order regarding motion
                                                         for extension to request attorneys' fees.
9/23/2015     Eric Moores         0.1    $      21.00    Correspond with 1. James regarding clerk's judgment.
912312015     Eric Moores         0.1    $      21.00    Review clerk's judgment.
9128/2015     Eric Moores         0.1    $      21.00    Strategize regarding additional consultation efforts with
                                                         plaintiff regarding attorneys' fee motion.
9/2812015     Coree E. Neumeyer   1.5    $    502.50     Edit motion for attorneys' fees, supporting documentation.

9128/2015     Coree E. Neumeyer   0.1    $      33.50    Strategize regarding additional consultation efforts with
                                                         plaintiffregarding attorneys' fee motion.
9129/2015     Eric Moores         0.4    $      84.00    Draft correspondence to I. Dodev regarding invitation to
                                                         discuss issues with application for attorneys' fees.
101212015     Coree E. Neumeyer   0.6    $    201.00     Edit motion for attorneys' fees to incorporate factors to be
                                                         considered for award under AR.S. § 33-807(E).
101212015     Coree E. Neumeyer   0.8    $    268.00     Edit itemization of attorneys' fees to incorporates fees
                                                         incurred on motion for attorneys' fees.

                    TOTAL:        29.2   $   8,318.00




                                                   23 of 23
Case 2:13-cv-02155-DLR   Document 157-1   Filed 10/06/15   Page 33 of 34




                   EXHIBITC
Case 2:13-cv-02155-DLR           Document 157-1             Filed 10/06/15   Page 34 of 34


                                    EXHIBIT "C"
                                 BRYAN CAVE LLP
                        ITEMIZED CHRONOLOGY OF COSTS
                          November 4, 2013 - September 4, 2015

  Date                                    Description                             Amount
 12/13/2013   Copying Charges (48 Pages @ $0.06/per       page).                     $2.88
 12/20/2013   Copying Charges (6 Pages @ $0.06/per       page).                      $0.36
  1/17/2014   Coree E. Neumeyer: Copies - Retrieval of Documents from Fed           $22.10
              Docket Service
   1/3/2014   Printing Charges (280 Pages @ $0.20/per      page).                   $56.00
   1/7/2014   Printing Charges (12 Pages @ $0.20/per      page).                     $2.40
   1/7/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
   1/8/2014   Printing Charges (4 Pages @ $0.20/per      page).                      $0.80
  1/10/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/13/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/13/2014   Printing Charges (4 Pages @ $0.20/per      page).                      $0.80
  1/13/2014   Printing Charges (4 Pages @ $0.20/per      page).                      $0.80
  1/15/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/17/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/17/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/17/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/20/2014   Printing Charges (12 Pages @ $0.20/per      page).                     $2.40
  1/20/2014   Printing Charges (8 Pages @ $0.20/per      page).                      $1.60
  1/21/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/21/2014   Printing Charges (8 Pages @ $0.20/per      page).                      $1.60
  1/21/2014   Printing Charges (8 Pages @ $0.20/per      page).                      $1.60
  1/21/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/21/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/22/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/22/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/23/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
  1/24/2014   Printing Charges (1 Page @ $0.20/per      page).                       $0.20
 10/15/2014   CD Charges (2 @ $8.00/per    CD)                                      $16.00
 11/12/2014   Copying Charges (16 Pages @ $0.06/per       page).                     $0.96
 11/20/2014   Filing/Service Fee: Ivaylo Tsvetanov Dodev, 6312 S 161ST WAY,         $17.94
              GILBERT, AZ (11/12/2014)    Fed Ex Invoice No. 285119661
 11/25/2014   Copying Charges (110 Pages @ $0.06/per       page).                    $6.60


                                                                         TOTAL:    $137.64
